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                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                        DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA,


    v.                                                                  Case No.: 1:19-CR-00018-ABJ


    ROGER J. STONE, JR.,


                         Defendant.




                             DEFENDANT ROGER STONE’S MOTION TO DISMISS



Defendant, Roger Stone, moves to dismiss the Indictment against him on the following grounds:


   1. Separation of Powers prevents the Special Counsel from indicting Mr. Stone for allegedly making materially

         false statements to the Legislative Branch, absent a Congressional referral;

   2. The Special Counsel's actions vis a vis Roger Stone impermissibly violate the Appropriations Clause of the

         Constitution;

   3. The Special Counsel Appointment violates the Vesting Clause of the Constitution;


   4. The Special Counsel Appointment impermissibly encroaches upon the Executive Power in violation of the

         Take Care Clause of the Constitution;

   5. The Special Counsel Appointment violates the Appointments Clause of the Constitution;

   6. The Special Counsel Appointment is invalid because it was not commissioned by the President of the United

         States.
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Dated: April 12, 2019                  Respectfully submitted,
                                       By: /s/_______________




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,


v.                                              Case No.: 1:19-CR-00018-ABJ


ROGER J. STONE, JR.,


             Defendant.




     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANT ROGER STONE’S MOTION TO DISMISS
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                                          PROLOGUE

        Roger Stone is entitled to access to the full, unredacted Report of Special Counsel Robert

S. Muller, III, pursuant to the Fifth and Sixth Amendments to the Constitution of the United States

and Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194 (1963). No other person, Committee, or entity

has Stone’s constitutionally based standing to demand the complete, unredacted Report.

        The Fifth Amendment guarantees Stone “due process of law.” The Sixth Amendment

guarantees Stone the right “to be informed of the nature and cause of the accusation; to be

confronted with the witnesses against him; to have compulsory process for obtaining witnesses in

his favor.” Brady and its progeny require that evidence favorable to the accused be provided to

him or her.

        Stone’s prosecution is the direct outgrowth of the Special Counsel Investigation. He is the

last vestige of the investigation; an investigation which employed 19 lawyers, 40 FBI agents and

other staff, an investigation that issued more than 2,800 subpoenas, executed 500 search warrants,

obtained more than 230 orders for communication records, 50 pen register authorizations, and

interviewed approximately 500 witnesses.

        Only by reviewing the full, unredacted Mueller Report can Roger Stone be assured of his

rights to due process, to compulsory process, to know the exculpatory evidence, to determine

whether or not he is being selectively prosecuted. The Special Counsel Report may be of political

interest to many. It may be of commercial interest to others. It may be of public interest to some.

But for Roger Stone, the Special Counsel’s Report is a matter of protecting his liberty. Only by

full disclosure to him, can he determine whether the Report contains material which could be

critical to his defense.

        Therefore Roger Stone, in addition to the reasons set forth below for dismissing the

Indictment against him, expressly requests that the Court order the government to provide him
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with the Special Counsel’s full, unredacted Report. In addition, he expressly reserves the right to

add any additional grounds which may arise after publication of the Report, redacted, unredacted,

or otherwise.

I.   Separation of Powers Prevents the Executive Branch Special Prosecutor from
     Prosecuting Stone for Allegedly Making Material False Statements to the Legislative
     Branch, Absent Congressional Referral.

       The separation of powers between the legislative, executive and judicial branches is

fundamental to our constitutional system. Clinton v. New York, 524 U.S. 417, 450, 118 S. Ct. 2091,

2109(1998) (Kennedy, J.,) (concurring). Each branch is required to respect the scope of power of

the other two branches. Part of this mutual respect has traditionally been that the Executive Branch

not act as if on “road patrol” looking to police proceedings of the Legislative Branch for criminal

behavior. It may only act upon alleged criminal activity impacting the Legislative Branch upon

the receipt of a “referral” from Congress. As stated by former FBI Director James Comey in his

July, 2016 testimony before a House Oversight and Government Reform Committee hearing

regarding the Federal Bureau of Investigation’s (“FBI”) inquiry of the potential mishandling of

classified information:

                We, out of respect for the legislative branch being a separate branch,
                we do not commence investigations that focus on activities before
                Congress without Congress asking us to get involved. That's a long-
                standing practice of the Department of Justice and the FBI. So we
                don't watch on TV and say we ought to investigate that, Joe Smith
                said this -- in front of the committee. It requires the committee to
                say, “We think we have an issue here; would you all take a look at
                it?” 1



1
      Oversight of the State Dep't, Hearing Before the Comm. on Oversight and Reform, 114th
Congress (2016) (statement of James B. Comey, Dir. Federal Bureau of Investigation).


                                                  2
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    A. Prosecution Absent a Referral Invades the Investigative and Oversight Powers of
       Congress in Violation of Separation of Powers.

       The Department of Justice has long taken the position that prosecutorial discretion rests

solely with the Executive Branch, and that Congress cannot force the FBI to conduct an

investigation, or force the Department to institute a prosecution. 2 Comity among the three coequal

branches supports the proposition that the Department cannot police Congress, and prosecute

potential violations which Congress has not referred for prosecution. To do so would allow the

Executive Branch to invade and impede Congress’ right to conduct inquiries, a key aspect of the

legislative function.

       McGrain v. Daugherty, 273 U.S. 135, 174, 47 S. Ct. 319 (1927), held that “the power of

inquiry -- with process to enforce it -- is an essential and appropriate auxiliary to the legislative

function.” See also Watkins v. United States, 354 U.S. 178, 187, 77 S. Ct. 1173, 1179 (1957), and

Barenblatt v. United States, 360 U.S. 109, 111, 79 S. Ct. 1081, 1085 (1959). The investigative

power of Congress goes hand in hand with Congress’ oversight power. Numerous committees and

subcommittees of the House and Senate engage in investigative and oversight hearings on a routine




2
        See Whether the Department of Justice May Prosecute White House Officials for Contempt
of Congress, 32 Op. O.L.C. 65 (2008), which states that “as a matter of statutory interpretation
reinforced by compelling separation of powers considerations, we believe that Congress may not
direct the Executive to prosecute a particular individual without leaving any discretion to the
Executive to determine whether a violation of the law has occurred.” (quoting Prosecution for
Contempt of Congress of an Executive Branch Official Who Has Asserted a Claim of Executive
Privilege, 8 Op. O.L.C. 101, 102 (1984)).



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basis. 3 These Congressional powers are implied from both the Article I, Section 8 enumerated

powers, as well as the necessary and proper clause. Investigation and oversight have been upheld

by a series of cases dating back to at least 1821, and have been explicitly authorized by statute

since 1946. 4 To allow the Executive Branch to roam the Halls of Congress to look for prosecutable

offenses sans a referral from the Legislative Brach would violate the separation of powers doctrine.

There has been no referral by the Legislative Branch. Indeed, the alleged offense occurred nearly

two years ago and nary a word was ever said by the Committee before which the alleged false

statement was made.

II.      The Appointment of the Special Counsel Violates the Appropriations Clause.

       The Appropriations Clause provides: “No money shall be drawn from the Treasury, but in

Consequences of Appropriations made by Law.” Article I, Section 9, Clause 7. This Special

Counsel’s Office was not funded by monies approved by Congress; rather, the Department of

Justice is funding the investigation from an unlimited account established in 1987 to pay for

independent counsels.

       This Special Counsel's Office budget and funding were not congressionally approved.

Because it was not congressionally approved, its funding is in violation of the Constitution. Since

the investigation violates a fundamental clause of the Constitution authorizing congressional

oversight, it lacks authority to investigate and prosecute Roger Stone. The law provides that the




3
      See generally, L. Elaine Halchin & Frederick M. Kaiser, Cong. Research Serv., 97-936,
Congressional Oversight (2012), available at: https://fas.org/sgp/crs/misc/97-936.pdf.
4
       Anderson v. Dunn, 19 U.S. 204 (1821); See also, The Legislative Reorganization Act of
1946 (P.L. 79-601).

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indictment should be dismissed and the prosecution enjoined. See United States v. McIntosh, 833

F.3d 1163, 1175 (9th Cir. 2016):

              The Appropriations Clause plays a critical role in the Constitution’s
              separation of powers among the three branches of government and
              the checks and balances between them. “Any exercise of a power
              granted by the Constitution to one of the other branches of
              Government is limited by a valid reservation of congressional
              control over funds in the Treasury.” Id. at 425, 110 S. Ct. 2465. The
              Clause has a “fundamental and comprehensive purpose … to assure
              that public funds will be spent according to the letter of the difficult
              judgments reached by Congress as to the common good and not
              according to the individual favor of Government agents.” Id. at 427-
              28, 110 S. Ct. 2465. Without it, Justice Story explained, “the
              executive would possess an unbounded power over the public purse
              of the nation; and might apply all its moneyed resources at his
              pleasure.” Id. at 427, 110 S. Ct. 2465 (quoting 2 Joseph Story,
              Commentaries on the Constitution of the United States § 1348 (3d
              ed. 1858)).

   A. The Independent Counsel Statute.

       The Supreme Court described the appointment, investigative, and prosecutorial procedures

of the Independent Counsel statute as follows:

              Title VI of the Ethics in Government Act (Title VI or the Act), 28
              U.S.C. §§ 591–599 (1982 ed., Supp. V), allows for the appointment
              of an “independent counsel” to investigate and, if appropriate,
              prosecute certain high-ranking Government officials for violations
              of federal criminal laws.

               The Act requires the Attorney General, upon receipt of information
              that he determines is “sufficient to constitute grounds to investigate
              whether any person [covered by the Act] may have violated any
              Federal criminal law,” to conduct a preliminary investigation of the
              matter. When the Attorney General has completed this investigation,
              or 90 days has elapsed, he is required to report to a special court (the
              Special Division) created by the Act “for the purpose of appointing
              independent counsels.” 28 U.S.C. § 49 (1982 ed., Supp. V).

              If the Attorney General determines that “there are no reasonable


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               grounds to believe that further investigation is warranted,” then he
               must notify the Special Division of this result. In such a case, “the
               division of the court shall have no power to appoint an independent
               counsel.” § 592(b)(1). If, however, the Attorney General has
               determined that there are “reasonable grounds to believe that further
               investigation or prosecution is warranted,” then he “shall apply to
               the division of the court for the appointment of an independent
               counsel.”

               The Attorney General’s application to the court “shall contain
               sufficient information to assist the [court] in selecting an
               independent counsel and in defining that independent counsel’s
               prosecutorial jurisdiction.” § 592(d). Upon receiving this
               application, the Special Division “shall appoint an appropriate
               independent counsel and shall define that independent counsel’s
               prosecutorial jurisdiction.” § 593(b).

Morrison v. Olson, 487 U.S. 654, 660-661, 108 S.Ct. 2597, 2603(1988).

       Title VI was at the time, and remained until its expiration, the only law that specifically

allowed the investigation of a sitting President and Presidential Campaign. But Congress

determined that the law should expire in 1999, and has not reenacted it. The independent counsel

was vested with “full power and independent authority to exercise all investigative and

prosecutorial functions and powers of the Department of Justice” with respect to matters within

their jurisdiction. Id. at 662; 28 U.S.C. § 594(a). The independent counsel has authority to conduct

investigations and grand jury proceedings, to obtaining and reviewing tax returns, to carrying out

prosecutions. Id.; 28 U.S.C. §§ 594 (1)-(9). The independent counsel could request assistance from

the Department in the course of the investigation, including access to materials relevant to the

relevant inquiry and necessary resources and personnel. Id.; 28 U.S.C. §594(d).

       Even with controversy about the over-extension of power to and insufficient supervision

and oversight of the independent counsel, congressional oversight was in place.



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               Finally, the Act provides for congressional oversight of the activities
               of independent counsel. An independent counsel may from time to
               time send Congress statements or reports on his or her activities. §
               595(a)(2). The “appropriate committees of the Congress” are given
               oversight jurisdiction in regard to the official conduct of an
               independent counsel, and the counsel is required by the Act to
               cooperate with Congress in the exercise of this jurisdiction. §
               595(a)(1). The counsel is required to inform the House of
               Representatives of “substantial and credible information which [the
               counsel] receives ... that may constitute grounds for an
               impeachment.” § 595(c). In addition, the Act gives certain
               congressional committee members the power to “request in writing
               that the Attorney General apply for the appointment of an
               independent counsel.” § 592(g)(1). The Attorney General is required
               to respond to this request within a specified time but is not required
               to accede to the request. § 592(g)(2).

Morrison, 487 U.S. at 665.

       Over the years, there were concerns over whether the independent counsel possessed too

much power after the Iran-Contra and Whitewater investigations. See Exhibit 1, Special Counsel

Investigations: History, Authority, Appointment and Removal, at 8. 5 Even the then-Deputy

Attorney General Eric Holder testified: “Independent counsel are largely insulated from any

meaningful budget process, competing public duties, time limits, accountability to superiors and

identification with the traditional long-term interests of the Department of Justice. See Exhibit 2,

[t[he Independent Counsel Act, Hearing Before the Subcomm. on Commercial and Administrative

Law, on the Judiciary 6.



5
        Cynthia Brown & Jared P. Cole, Cong. Research Serv., R44857, Special Counsel
Investigations: History, Authority, Appointment and Removal at 8 (2019).
6
       The Independent Counsel Act, Hearing Before the Subcomm. on Commercial and
Administrative Law, on the Judiciary, 106th Congress (1999) (prepared remarks of Dep. Att'y.
Gen. Eric Holder).


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       The Special Counsel statute provides a different framework but enables the Special

Counsel to investigate and prosecute without providing the direct and ongoing congressional

oversight as required by the independent counsel’s statute under § 591. Title 28 U.S.C. Sections

509, 510, and 515, passed into law in 1966, remain general provisions that do not contemplate the

appointment of a Special Counsel to investigate potential criminal actions by the President of the

United States or a Presidential Campaign.

       Congress presently must subpoena a copy of the Mueller report and will receive a version

at the discretion of the Attorney General. Thus, the only oversight provided to Congress by the

Special Counsel statute and accompanying regulations would be the power to appropriate spending.

    B. The Special Counsel Statute.

       “There is a federal statute that governs who may litigate cases in the name of the United

States, and provides for the appointment of the Special Counsel.” United States v. Manafort, 312

F.Supp.3d 60, 68-69 (D.D.C. 2018) (Berman Jackson, J.,) (citing 28 U.S.C. § 509). As described

earlier, prior to the enactment of the special counsel statute, there was an independent counsel

statute. In re Grand Jury Investigation, 916 F.3d 1047, 1050 (D.C. Cir. 2019), aff'd, 916 F.3d 1047

(D.C. Cir. 2019) (citing 28 U.S.C. §§ 591-599 (expired)). Then as the independent counsel

provisions of the Ethics in Government Act expired in 1999, the Attorney General promulgated

the Office of the Special Counsel regulations to “replace” the Act. Id. (citing Office of Special

Counsel, 64 Fed. Reg. 37,038, 37,038 (July 9, 1999) (published at 28 C.F.R. §§ 600.1–600.10). 7



7
        Part 600, Title 28 of the Code of Federal Regulations govern the general power of the
special counsel. Part 601 governed the jurisdiction of the independent counsel for Iran/Contra
investigation; part 602 governed the jurisdiction of Franklyn C. Nofziger; part 603 governed the
jurisdiction of the independent counsel re: Madison Guaranty Saving & Loan Association.

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See also Manafort, 312 F.Supp.3d at 68-69 (Berman Jackson, J.,). The Independent Counsel statute

was permitted to sunset in the hopes that the use of the statute would not be used to pursue

politically partisan agendas, rather than a means of assuring accountability in government. United

States v. Manafort, 321 F. Supp. 3d 640, 647–48 (E.D. Va. 2018) (Ellis, J.,).

       “The Department of Justice has promulgated a set of regulations concerning the

appointment and supervision of Special Counsel appointed pursuant to section 515.” Manafort,

312 F.Supp.3d at 69 (citing General Powers of Special Counsel, 28 C.F.R. §§ 600.1-600.10, citing

5 U.S.C. §301; 28 U.S.C. §§ 509, 510, 515-519)). “The Department published the regulations in

1999 to ‘replace the procedures set out in the Independent Counsel Reauthorization Act of 1994.’”

Id. (citation omitted). The regulations provide that a Special Counsel be appointed when the

Attorney General determines there is a criminal investigation of a person or matter is warranted,

that assigning a United States Attorney or other lawyer within the Department would present a

conflict of interest for the Department, or “other extraordinary circumstances.” Id. (citing 28 C.F.R.

§600.1)). The Special Counsel must be appointed from outside the Department, with a “reputation

for integrity and impartial decision-making,” with “appropriate experience” to conduct the specific

investigation, and understands the criminal law and the Department’s policies.” Id. (citing 28

C.F.R. §600.3)).

       The Attorney General or in this case, his designee, defined the scope of the Special

Counsel’s jurisdiction. Id. (citing 28 C.F.R. § 600.4)). Once the Special Counsel’s jurisdiction has

been established, he has “full power and independent authority” to exercise all investigative and

prosecutorial functions of a United States Attorney.” Id. at 70. (citing 28 C.F.R. § 600.6)). As

opposed to the prior Independent Counsel, the Special Counsel “remains subject to oversight by


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the Attorney General.” Id. “The Special Counsel's authority is not clearly greater than the

Independent Counsel's, and arguably is lesser.” In re Grand Jury Investigation, 315 F.Supp.3d at

641. What is clear, however, is that the authority given is different.

       The Special Counsel should consult with the Department for “guidance with respect to

practices and procedures” within the Department or Attorney General, unless such consultation

would be “inappropriate.” Manafort, 312 F.Supp.3d at 68-69 (citing 28 C.F.R. § 600.7). The

Special Counsel is not subject to day-to-day supervision of the Attorney General; however, the

Special Counsel has to explain “any investigative or prosecutorial step” taken. Id. (citing 28 C.F.R.

§ 600.7(b)). If deemed inappropriate or unwarranted by the Attorney General, then he can order

the Special Counsel not to pursue it. Id. The Attorney General has personal enforcement power to

discipline or remove the Special Counsel. Id. Pursuant to the new statute, the Department

announced the new regulations as a means to “strike a balance between independence and

accountability in certain sensitive investigations.” Id. (citing 64 Fed. Reg. at 37,038).

       As stated above, the independent counsel statute enacted congressional oversight

provisions that the special counsel statute does not. With supervision in place, Congress authorized

funding of the independent counsel’s office from a designated fund within the Department of

Justice. The permanent and indefinite independent counsel fund within the Department cannot and

was not deemed a Special Counsel fund.

       Robert Mueller, III was appointed to be the Special Counsel to investigate Russian

interference with the 2016 presidential election and related matters. United States v. Manafort,

312 F.Supp.3d 60, 64 (D.D.C. 2018) (Berman Jackson, J.,); see Exhibit 3, Appointment of

Special Counsel to Investigate Russian Interference with the 2016 Presidential Election and


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Related Matters, Order No. 3915-2017. 8

       The Special Counsel's Office is currently funded by the permanent, indefinite appropriation

for independent counsels. See 28 C.F.R. § 600.8 (a)(1)-(2) (budget); Exhibit 4, Dep't of Justice,

Special Counsel's Office Statement of Expenditures October 1, 2017 through March 31, 2018. In

title and actuality, Mr. Mueller is not an independent counsel. Mueller’s independence is defined

and limited by Part 600 of Title 28 of the Code of Federal Regulations. This does not authorize

independent funding at the Department’s discretion to be used for Mueller’s investigation and

prosecution.

       The Government will claim it has been given authority by Congress to use the independent

counsel fund since the General Accounting Office gave its opinion that it was appropriate to do so

in a prior investigation in 2004 when a “special counsel” was appointed to investigate the Chief of

Staff of the Vice President, I. Lewis, “Scooter” Libby. See Exhibit 5, GAO B302582, SPECIAL

COUNSEL AND PERMANENT INDEFINITE APPROPRIATION. 9

       Scooter Libby was investigated and prosecuted by a “special counsel” Patrick Fitzgerald.

Fitzgerald was the United States Attorney for the Northern District of Illinois and maintained that

position while he acted as special counsel prosecuting Libby. See United States v. Libby, 498

F.Supp.2d 1, 5-6 (D.D.C. 2007). Fitzgerald was not hired from outside the Department as the

Special Counsel statute and regulations require. Fitzgerald was, explicitly in his appointment, not



8
        Dep. Att'y. Gen. Rod Rosenstein, Appointment of Special Counsel to Investigate Russian
Interference with the 2016 Presidential Election and Related Matters, Order No. 3915-2017 (May
17, 2017).
9
     U.S. GOV’T ACCOUNTABILITY OFFICE, GAO B302582, SPECIAL COUNSEL AND
PERMANENT INDEFINITE APPROPRIATION (2004).

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limited by Part 600 of the federal regulations. Mueller, however, is limited by Section 600.7(b),

which made him accountable to Deputy Attorney General Rosenstein; and now, the Attorney

General. Mueller is not an independent counsel in any way. Because Mueller is not an independent

counsel, i.e. limited by Title 28 Code of Federal Regulations Section 600, he cannot be subject to

the indefinite independent Department of Justice Fund – Congress must approve his funding. See

Exhibit 1 at 1.

       The Department has equivocated on the meaning of “independent” and “special” since

enactment of Special Counsel statute. Mueller is a different type of counsel conducting this

investigation and qualitatively different than the counsel the General Accounting Office required

in 2004 when analyzing the last independent counsel, “special counsel,” Patrick Fitzgerald. See

Exhibit 1 at 2. Fitzgerald was truly independent and held the authority of the Attorney General. Id.

at 2. The GAO Report assumed that the Part 600 regulations were “not substantive” and therefore

could be waived by the Department, and were. Id. at 8. Acting Attorney General James Comey

“clarified” that Fitzgerald’s delegation of authority was “plenary.” Id. at 3. “Further, my conferral

on you of the title of ‘Special Counsel’ in this matter should not be misunderstood to suggest that

your position and authorities are defined and limited by 28 CFR Part 600.” Id. at 3 & n. 4. Mueller

is defined and limited by 28 C.F.R. Part 600.

                  The authority to appoint independent counsels pursuant to the
                  provisions of 28 U.S.C. §§ 591 et seq. expired on June 30, 1999.
                  However, the permanent indefinite appropriation remains available
                  to pay the expenses of an independent counsel (1) who was
                  appointed by the Special Division of the United States Court of
                  Appeals for the District of Columbia pursuant to the provisions of
                  28 U.S.C. §§ 591 et seq. whose investigation was underway when
                  the law expired (2) who was appointed under “other law.” Under the
                  expired law, a person appointed as an independent counsel could not


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                hold “any office of profit or trust under the United States, 28 U.S.C.
                § 593(b)(2) (2000).”
Id. at 3.

        The present day Special Counsel’s relationship to the Department is qualitatively different

than the independent counsel. But, “[t]he Attorney General establishes the budget for the Special

Counsel’s investigation, and is to determine whether the investigation should continue at the end

of each fiscal year” nonetheless. In re Grand Jury, 916 F.3d at 1050 (citing 28 C.F.R. § 600.8(a)(1),

(a)(2)). The GAO Report never analyzed the effect of the post-1999 regulations on its 1994

memorandum’s analysis. It is this misuse of the permanent independent appropriation fund Stone

challenges as unconstitutional in violation of the Appropriations Clause. U.S. CONST. art. 1, § 9,

cl. 7. Because Part 600 limits the independence of the Special Counsel and the present day statute

limits Congress’s oversight role the indefinite independent counsel fund is not a resource for the

Special Counsel that can be used without violating the Appropriations Clause.

        “Decisions of the Supreme Court and this Court have strictly enforced the constitutional

requirement, implemented by federal statutes, that uses of appropriated funds be authorized by

Congress.” U.S. Dept. of Navy v. Fed. Labor Relations Auth., 665 F.3d 1339, 1342 (D.C. Cir.

2012) (Kavanaugh, J.,) (Circuit Court) (citing U.S. CONST. art. 1, § 9, cl. 7; 31 U.S.C. § 1301 et

seq.). The Clause conveys a “straightforward and explicit command”: No money “can be paid out

of the Treasury unless it has been appropriated by an act of Congress.” Office of Personnel Mgmt.

v. Richmond, 496 U.S. 414, 424, 110 S.Ct. 2465, 2471 (1990) (citations omitted). "An

appropriation must be expressly stated; it cannot be inferred or implied. 31 U.S.C. § 1301(d) (“A

law may be construed to make an appropriation out of the Treasury ... only if the law specifically

states that an appropriation is made.”). It is well established that “a direction to pay without a


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designation of the source of funds is not an appropriation.” United States House of Representatives

v. Burwell, 185 F.Supp.3d 165, 169 (D.D.C. 2016) (quoting U.S. GOV’T ACCOUNTABILITY OFFICE,

GAO-04-261SP, PRINCIPLES OF FEDERAL APPROPRIATIONS LAW (Vol. I) at 2-17 (3d ed. 2004) 10)

(hereinafter “GAO PRINCIPLES”). The inverse is also true: the designation of a source, without a

specific direction to pay, is not an appropriation. Id. The Clause protects Congress's “exclusive

power over the federal purse.” Rochester Pure Waters Dist. v. EPA, 960 F.2d 180, 185

(D.C.Cir.1992). The power over the purse was one of the most important authorities allocated to

Congress in the Constitution's “necessary partition of power among the several departments.” THE

FEDERALIST NO. 51 at 320 (James Madison). The Appropriations Clause prevents Executive

Branch officers from even inadvertently obligating the Government to pay money without

statutory authority. See Richmond, 496 U.S. at 416; see also Dep't of the Air Force v. FLRA, 648

F.3d 841, 845 (D.C.Cir.2011).

       A “permanent” or “continuing” appropriation, once enacted, makes funds available

indefinitely for their specified purpose; no further action by Congress is needed. Nevada v. Dep’t

of Energy, 400 F.3d 9, 13 (D.C. Cir. 2005); GAO PRINCIPLES at 2–14. A “current appropriation,”

by contrast, allows an agency to obligate funds only in the year or years for which they are

appropriated. GAO PRINCIPLES at 2–14. Current appropriations often give a particular agency,

program, or function its spending cap and thus constrain what that agency, program, or function

may do in the relevant year(s). Most current appropriations are adopted on an annual basis and

must be re-authorized for each fiscal year. Such appropriations are an integral part of our




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       Available at: https://www.gao.gov/special.pubs/3rdeditionvol1.pdf.

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constitutional checks and balances, insofar as they tie the Executive Branch to the Legislative

Branch via purse strings. House of Representatives, 185 F.Supp.3d at 169-170. Examples of

permanent appropriations include the Judgment Fund (31 U.S.C. § 1304(a)) and payment of

interest on the national debt (31 U.S.C. § 1305(2)). House of Representatives, 185 F.Supp.3d at n.

3.

        Title 31 Section 1341, known as the Anti-Deficiency Act, makes it unlawful for

government officials to “make or authorize an expenditure or obligation exceeding an amount

available in an appropriation” or to involve the Federal Government “in a contract or obligation

for the payment of money before an appropriation is made unless authorized by law.” U.S. Dept.

of Navy, 665 F.3d at 1347 (citing 31 U.S.C. § 1341(a)(1)(A)-(B)). It is a crime to knowingly and

willfully violate it. Id. (citing 31 U.S.C. § 1350)).

        The government’s reliance on approved funding without a specific authorization from

Congress comes from “. . . a permanent indefinite appropriation is established within

the Department of Justice to pay all necessary expenses of investigations and prosecutions by

independent counsel appointed pursuant to the provisions of 28 U.S.C. 591 et seq. or other law.”

Pub. L. No. 100-202, § 101(a) [title II], 101 Stat. 1329, 1329-9 (1987). Special Counsel Mueller,

however, was not appointed under the expired independent counsel statute pursuant to 28 U.S.C.

§ 591. Also, there is no “other law” because the Independent Counsel statute was not replaced with

another law, i.e. another statute enabling a special counsel to have the same role as the Independent

Counsel. The Independent Counsel statute was replaced by Department rules promulgated by

itself, not Congress. The Department must argue that the “or other law” clause survives the sunset

of Section 591, in order to support the payment of expenses without congressional approval.


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Congress must have intended to maintain payment for a different and unique “special” counsel in

perpetuity while surrendering the direct oversight it had under the Section 591. The “or other law”

does not mean any law. It must mean another law that creates a similar special lawyer with similar

authority to investigate and prosecute specified matters. The Special Counsel law does not have

sufficient specificity to investigate a president or the campaign.

       Because the expenditure of funds supporting the Special Counsel investigation and

prosecution violates the Appropriations Clause, an order dismissing the indictment and enjoining

the prosecution of him until Congress has made the proper constitutional appropriation is

appropriate. United States v. McIntosh, 833 F.3d 1163, 1174-1175 (9th Cir. 2016), supra. The

Appropriations Clause, U.S. Const. art. I, § 9, cl. 7, prohibits the payment of money from the

Treasury unless it has been approved by an act of Congress. Here, the Department violates the

Appropriations Clause and the maintenance of the criminal action constitutes a violation of the

separation of powers. See McIntosh, 833 F.3d at 1175.

III.     The Executive Branch Investigating the President Violates the Vesting Clause.

         The Constitution, Article II, paragraph 1, mandates that “[t]he executive Power shall be

vested in a President of the United States of America.” Often referred to as the “Vesting Clause,”

the Clause places extraordinary power in one person: the President.

         Law enforcement is squarely within the scope of the Executive Power. See, e.g., United

States v. Nixon, 418 U.S. 683, 693, 94 S.Ct. 3090, 3100 (1974) (The “Executive Branch has

exclusive authority and absolute discretion to decide whether to prosecute a case."). See also,

Bowsher v. Synar, 478 U.S. 714, 106 S.Ct. 3181 (1986) (where the Court struck down a provision




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of the Gramm-Rudman Act because it invaded the President’s exclusive authority to enforce the

laws).

         First, where an exclusive province of the Executive Power, such as law enforcement, is

encroached upon by Congress, the Court has on several occasions held that such laws violate the

Take Care Clause in Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 484,

130 S.Ct. 3138, 3147 (2010), the Court stated: “The President cannot ‘take Care that the Laws be

faithfully executed’ if he cannot oversee the faithfulness of the officers who execute them.”

         The Court’s standing doctrine is also based in part upon ensuring that the Judicial Branch

does not encroach upon the Executive Branch’s duty to “take Care that the Laws be faithfully

executed.” In Lujan v. Def. of Wildlife, 504 U.S. 555, 577, 112 S.Ct. 2130, 2145 (1992) the Court

reasoned that to allow Congress to “convert the undifferentiated public interest in executive

officers’ compliance with the law into an ‘individual right’ vindicable in the courts is to permit

Congress to transfer from the President to the courts the Chief Executive’s most important

constitutional duty, to ‘take Care that the Laws be faithfully executed.’” See also, Allen v. Wright,

468 U.S. 737, 761, 104 S.Ct. 3315, 3330 (1984), where the Court stated that “The Constitution,

after all, assigns to the Executive Branch, and not to the Judicial Branch, the duty to ‘take Care

that the Laws be faithfully executed.’ We could not recognize respondents’ standing in this case

without running afoul of that structural principle.” (citation omitted) (quoting U.S. CONST. art.

II, § 3).

         Likewise, in in Printz v. United States 521 U.S. 898, 922-23, 117 S.Ct. 2365, 2379 (1997)

the Court relied in part on the Take Care Clause to strike down certain provisions of the Brady Act

that required local law enforcement to engage in federal enforcement actions. In light of these


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serious structural constitutional concerns, interpreting a statute to provide for the investigation of

the President or a presidential campaign should be undertaken with caution. Generally, in this

setting, in order to interpret a statute in a manner that could encroach upon the President’s powers

under the Vesting Clause and the Take Care Clause, and with due respect to separation of powers

concerns, courts have required a clear statement of Congressional intent. Guidance is provided by

the Court’s analysis of whether the Administrative Procedure Act applies to the President. See,

for example, Franklin v. Massachusetts, 505 U.S. 788, 800-801, 112 S.Ct. 2767, 2775 (1992) (in

concluding that the President is not bound by the Administrative Procedure Act). Accordingly, in

construing a statute to provide that the President and Presidential Campaign can be investigated

by a special prosecutor appointed by the Attorney General, precedent requires an explicit statement

by Congress due to the unique constitutional position of the President, and the serious structural

constitutional concerns discussed above. Such an explicit statement cannot be found in the general

statutes upon which the Acting Attorney General relied in the Mueller Appointment. However, it

is clear that Congress can make such an explicit statement because it has done so in the past.

       If the President and his presidential campaign cannot be investigated by the Executive

Branch’s Department of Justice, then the investigation of Roger Stone, which was the direct fruit

of that poisoned tree, must fall.

IV.    Mueller’s Appointment Impermissibly Encroaches Upon the Executive Power in
       Violation of the Take Care Clause.

         Last year, before becoming Attorney General, William Barr wrote a Memorandum

regarding “Mueller’s ‘Obstruction’ Theory to Deputy Attorney General Rosenstein in which he




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set forth the constitutional dangers of inhibiting the President’s discretion and duty to take care of,

and guide, the country.

                       In framing a Constitution that entrusts broad discretion to the
               President, the Framers chose the means they thought best to police
               the exercise of that discretion. The Framers’ idea was that, by
               placing all discretionary law enforcement authority in the hands of
               a single “Chief Magistrate” elected by all the People, and by making
               him politically accountable for all exercises of that discretion by
               himself or his agents, they were providing the best way of ensuring
               the “faithful exercise” of these powers. Every four years the people
               as a whole make a solemn national decision as to the person whom
               they trust to make these prudential judgments. In the interim, the
               people’s representatives stand watch and have the tools to oversee,
               discipline, and, if they deem appropriate, remove the President from
               office. Thus, under the Framers’ plan, the determination whether the
               President is making decisions based on “improper” motives or
               whether he is “faithfully” discharging his responsibilities is left to
               the People, through the election process, and the Congress, through
               the Impeachment process.

Exhibit 6, Memorandum from Bill Barr on Mueller’s “Obstruction” Theory 11

         The Mueller Appointment was made pursuant to 28 U.S.C. §§ 509, 510, and 515, which

do not mention, authorize or contemplate the appointment of a Special Counsel to investigate or

prosecute a President or a Presidential Campaign. Nevertheless, the Mueller Appointment

purported to empower Special Prosecutor Mueller and his team to investigate and potentially indict

President Trump and members of his campaign. Indeed, the summary of the Mueller Report issued

by Attorney General Barr indicates that a substantial investigation of the President and his

Campaign was undertaken by Special Prosecutor Mueller and his team.




11
      Memorandum from Bill Barr on Mueller’s “Obstruction” Theory to Deputy Att’y Gen.
Rod Rosenstein and Assistant Att’y Gen. Steve Engel (June 8 2018) at 11

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         Because of the unique position of the President in our constitutional structure, the powers

vested solely in the President by the Vesting Clause, and the obligation of the President to “take

Care that the Laws be faithfully executed,” 28 U.S.C. §§ 509, 510, and 515 were unconstitutionally

applied as the basis for the Mueller Appointment, as set forth below. Therefore, the Mueller

Appointment was unconstitutional, should be held void ab initio, and the indictment against Mr.

Stone should be dismissed.

           A. Legal Background on the Take Care Clause.

       The Constitution, art. II, § 1, cl. 1, mandates that “[t]he executive Power shall be vested in

a President of the United States of America.” Often referred to as the “Vesting Clause,” this

sentence places extraordinary power in one person: the President. In contrast to the legislative

power--which is diffused because it vests in the bicameral Congress consisting of two senators

from each of the fifty states together with four hundred and thirty-five congressional seats variably

allocated by the census among the fifty states--the executive power is vested in just one person. 12

       Not only does the Constitution place the entire executive power in the President’s hands,

Article II, Section 3, mandates that the President “shall take Care that the Laws be faithfully




12
       See, e.g., Myers v. United States, 272 U.S. 52, 123, 47 S.Ct. 21, 27 (1926), where the Court
made this clear:
       The President is a representative of the people just as the members of the Senate
       and of the House are, and it may be, at some times, on some subjects, that the
       President elected by all the people is rather more representative of them all than are
       the members of either body of the Legislature whose constituencies are local and
       not countrywide; and, as the President is elected for four years, with the mandate
       of the people to exercise his executive power under the Constitution, there would
       seem to be no reason for construing that instrument in such a way as to limit and
       hamper that power beyond the limitations of it, expressed or fairly implied.


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executed. . . .” Known as the “Take Care Clause,” this provision has been interpreted by the

Supreme Court to mean that the President must always have control over the executive branch of

government, for without that control the President is denied the means to ensure that the laws are

faithfully executed. 13 The Take Care Clause is followed immediately by the Commission Clause,

which requires that the President “shall Commission all the Officers of the United States.” In order

for the President to ensure the faithful execution of the laws, he must know who is executing those

laws. Requiring the President to commission all of the officers of the United States is one means

to that end. The commission is also a recognition that since the President alone is vested with the

entire executive sovereign power of the United States, only he can pass that sovereign power to

officers to validly wield in his name. The commission serves both to validate the President’s

assignment of that power to an officer for implementation of various executive tasks, and to

document that the President remains responsible for those actions. In the Executive Branch, final

responsibility must rest with the President. Thus, the President, “though able to delegate duties to

others, cannot delegate ultimate responsibility or the active obligation to supervise that goes with

it.” Free Enter. Fund, 561 U.S. at 496 (quoting Clinton v. Jones, 520 U.S. 681, 712-713, 117 S.Ct.

1636, 1653-1654 (1997) (Breyer, J., concurring)) (emphasis added).

       Although the Court has considered the Vesting Clause and the Commission Clause, it is

the Take Care Clause to which the Court has primarily turned to define the appropriate role of the



13
       See, e.g., Myers v. United States, supra, at 127:
       It could never have been intended to leave to Congress unlimited discretion to vary
       fundamentally the operation of the great independent executive branch of
       government and thus most seriously to weaken it. It would be a delegation by the
       Convention to Congress of the function of defining the primary boundaries of
       another of the three great divisions of government.

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President in our three-part system of government based upon the separation of powers. The Clause

has been used to support the power of the President to remove officers who do not follow the

President’s directives. 14 The Court has used the Take Care Clause to define the limits of Article

III standing to ensure that the President, rather than the federal judiciary, retains primary

responsibility for the legality of executive decisions. 15 Similarly, the Court has used the Take Care

Clause to strike a law that shifted responsibility for executing federal law to state and local law

enforcement agents, whom the President could not control, because to do so would impermissibly

encroach upon the President’s Take Care Clause power. 16 The Court has relied on the Take Care




14
        The Court stated in Myers, at 117 “As [the President] is charged specifically to take care
that [the laws] be faithfully executed, the reasonable implication . . . must be, in the absence of any
express limitation respecting removals, that as his selection of administrative officers is essential
to the execution of the laws by him, so must be his power of removing those for whom he cannot
continue to be responsible.” The removal power was more recently addressed by the Court in Free
Enter. Fund at 561 U.S. at 484, stating “The President cannot ‘take Care that the Laws be faithfully
executed’ if he cannot oversee the faithfulness of the officers who execute them.”
15
        See, e.g., Lujan, 504 U.S. at 577 (asserting that to allow Congress to “convert the
undifferentiated public interest in executive officers’ compliance with the law into an ‘individual
right’ vindicable in the courts is to permit Congress to transfer from the President to the courts the
Chief Executive’s most important constitutional duty, to ‘take Care that the Laws be faithfully
executed’”); Allen, 468 U.S. at 761 (“The Constitution, after all, assigns to the Executive Branch,
and not to the Judicial Branch, the duty to ‘take Care that the Laws be faithfully executed.’ We
could not recognize respondents’ standing in this case without running afoul of that structural
principle.” (citation omitted) (quoting U.S. CONST. art. II, § 3)).
16
         The Court in Printz, 521 U.S. at 922 relied in part on the Take Care Clause to reject
congressional power to “commandeer” state officials to enforce federal law. At issue was the
validity of the Federal Brady Act, which required state law enforcement officers to conduct
background checks of gun purchasers in order to determine whether the putative buyer’s receipt
or possession of a firearm would be unlawful. Id. at 903 (citing 18 U.S.C. §922(s)(2) (1994)). After
finding that such a requirement impermissibly intrudes upon state sovereignty, the Court further
concluded that Congress’s attempt to impress state executive officials into federal service violates
“the separation and equilibration of powers between the three branches of the Federal Government
itself.” Printz, 521 U.S. at 922. In the Court’s words:

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Clause as the source of the President’s prosecutorial discretion—a power that may give the

President room to reshape the effective reach of laws enacted by Congress. 17 Thus, the Court has

repeatedly held that where a law encroaches upon the President’s power to effectively run the

Executive Branch, or conflicts with a power or duty granted to the President by the Constitution,

it conflicts with the architecture of the Constitution and cannot stand.

           B. The Take Care Clause’s Application to This Case.




       The Constitution does not leave to speculation who is to administer the laws enacted
       by Congress; the President, it says, “shall take Care that the Laws be faithfully
       executed,” Art. II, § 3, personally and through officers whom he appoints (save for
       such inferior officers as Congress may authorize to be appointed by the “Courts of
       Law” or by “the Heads of Departments” who are themselves Presidential
       appointees), Art. II, § 2. The Brady Act effectively transfers this responsibility to
       thousands of [state executive officers] in the 50 States, who are left to implement
       the program without meaningful Presidential control (if indeed meaningful
       Presidential control is possible without the power to appoint and remove). The
       insistence of the Framers upon unity in the Federal Executive—to ensure both vigor
       and accountability—is well known. . . That unity would be shattered, and the power
       of the President would be subject to reduction, if Congress could act as effectively
       without the President as with him, by simply requiring state officers to execute its
       laws.

Id. at 922-23 (citations omitted). Accordingly, the Take Care Clause not only constrains control
over the execution of federal law within the federal government, but also the allocation of
executive responsibilities between federal and state governments.
17
         See, e.g., United States v. Armstrong, 517 U.S. 456, 464, 116 S. Ct. 1480, 1486 (1996)
(concluding that the Attorney General and U.S. Attorneys have wide prosecutorial discretion
“because they are designated by statute as the President’s delegates to help him discharge his
constitutional responsibility to ‘take Care that the Laws be faithfully executed’” (quoting U.S.
CONST. art. II, § 3)); Heckler v. Chaney, 470 U.S. 821, 832, 105 S. Ct. 1649, 1656 (1985) (“[A]n
agency’s refusal to institute proceedings shares to some extent the characteristics of the decision
of a prosecutor in the Executive Branch not to indict—a decision which has long been regarded as
the special province of the Executive Branch, inasmuch as it is the Executive who is charged by
the Constitution to ‘take Care that the Laws be faithfully executed.’” (quoting U.S. CONST. art.
II, § 3)).

                                                 23
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       The Mueller Appointment encroaches upon the President’s powers under the Take Care

Clause, and therefore the statutes upon which Acting Attorney General Rosenstein relied to make

the appointment were either misconstrued or are unconstitutional as applied. The existence of the

Special Counsel hobbles the President’s ability to effectively discharge the duty of his office.

       Once a Special Prosecutor is appointed to investigate a President, every action the President

takes is viewed through the investigative lens, imbued with criminal intent. The President is not

free to take the best actions for the country, but must act cautiously lest he run afoul of a multitude

of possible undisclosed crimes the Special Prosecutor may be investigating. Nothing could

encroach more upon the President’s duty to take care that the laws be faithfully executed than

having a Special Prosecutor continually looking over his shoulder, threatening him or the members

of his executive branch with potential prosecution for every act they take.

       Besides weakening the Presidency by reducing the zeal of his staff, the institution of the

independent counsel enfeebles him more directly in his constant confrontations with Congress, by

eroding his public support. Morrison, 487 U.S. at 713 (1988) (Scalia, J., dissenting).

       The existence of a Special Prosecutor investigating the President and members of a

Presidential Campaign clearly encroaches upon the President’s ability to carry out his duties in the

domestic arena. This particular investigation most significantly impacts the President in his critical

ability to conduct foreign policy.

           C. Mueller’s Investigation Encroaches Upon the President’s Ability to Conduct
              Foreign Policy.

       The current appointment is especially problematic as it has to do with a major hostile

foreign power: Russia. The President is at the zenith of his Article II powers when dealing with



                                                  24
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hostile foreign countries as the Commander in Chief. 18 “Of all the cares or concerns of

government,” Hamilton wrote in Federalist 74, “the direction of war most peculiarly demands

those qualities which distinguish the exercise of power by a single hand.” 19

       The Mueller Appointment grants the Special Counsel the authority to investigate “any links

and/or coordination between the Russian government and individuals associated with the

campaign of President Donald Trump.” Accordingly, every action taken by President Trump since

he formed his campaign with regard to the United States’ relationship with Russia has been second

guessed as evidence of “collusion,” or a conspiracy between Trump and Putin. 20 Many have

asserted that Putin has some form of control over Trump. 21 The Special Counsel investigation has




18
         See Dep't of the Navy v. Egan, 484 U.S. 518, 529-530, 108 S. Ct. 818, 825 (1988) (“The
Court … has recognized ‘the generally accepted view that foreign policy was the province and
responsibility of the Executive.’") (quoting Haig v. Agee, 453 U.S. 280, 293-294, 101 S. Ct. 2766,
2775 (1981)); Dames & Moore v. Regan, 453 U.S. 654, 678, 101 S. Ct. 2972, 2986 (1981)
(“Congress cannot anticipate and legislate with regard to every possible action the President may
find it necessary to take or every possible situation in which he might act,” . . . especially . . . in
the areas of foreign policy and national security …") (internal quotation marks and citation
omitted); United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 320, 57 S.Ct. 216, 221 (1936)
(citing the "plenary and exclusive power of the President as the sole organ of the federal
government in the field of international relations"); see also Harlow v. Fitzgerald, 457 U.S. 800,
812, 102 S. Ct. 2727, 2735 (1982) (referring to national security and foreign affairs as “central
Presidential domains”).
19
       THE FEDERALIST NO. 74 (Alexander Hamilton).
20
        Franklin Foer, The Collusion With Russia Is in Plain Sight: What did Donald Trump say
to Vladimir Putin when no one else could hear them?, THE ATLANTIC (Jan. 13, 2019),
https://www.theatlantic.com/politics/archive/2019/01/vladimir-putin-and-donald-trumps-
meeting-at-the-g20/580072/.
21
        Matthew Rosenberg, Ex-Chief of C.I.A. Suggests Putin May Have Compromising
Information on Trump, THE NEW YORK TIMES (Mar. 21, 2018),
https://www.nytimes.com/2018/03/21/us/politics/john-brennan-trump-putin.html.

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stimulated this second guessing, significantly undermining the President’s ability to conduct

foreign policy with regard to Russia. The Special Counsel investigation hog-ties the President in

the execution of his foreign policy.

       The Mueller Appointment not only hobbles the President’s ability to conduct a rational

foreign policy with regard to Russia, it undermines his ability to deal with every world leader. No

President can deal effectively with the heads of other nations when he is the subject of a

Department of Justice investigation that is prominently being portrayed in the press as imminently

removing him from office. Counterparts will be inhibited in reliance on a President who may not

serve out his term

       Interpreting 28 U.S.C. §§ 509, 510, and 515 as providing the power for the Attorney

General to appoint a special prosecutor capable of investigating the President and a Presidential

Campaign is particularly insidious. Pursuant to 28 U.S.C. §§ 509, 510, and 515, one unelected

person has been granted the power to undermine the single representative elected by the entire

nation. The possibility that such power granted to a single unelected official could be abused is

far higher than the possibility that impeachment by the House of Representatives--the remedy the

Constitution provides--would be so abused. The political calculus required for the House to

undertake impeachment acts to ensure that actual crimes have been committed, and that a national

consensus in support of impeachment exists. Absent such circumstances, however, for one

appointed individual to mandate an investigation of a President serves to undermine his ability to

function, and divides and weakens the nation.

        The Mueller Appointment, which particularly encroaches upon the President’s foreign

policy power, unconstitutionally encroaches upon the President’s power to take care that the laws


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are faithfully executed. Under the case law interpreting the Take Care Clause discussed above,

the appointment should be struck down, and Mr. Stone’s indictment dismissed. Further, all of the

evidence gathered during the course of Mueller’s illegal investigation must be excluded as fruit of

the poisonous tree. See Nardone v. United States, 308 U.S. 338, 341, 60 S.Ct. 266, 268 (1939);

Wong Sun v. United States, 371 U.S. 471, 83 S.Ct. 407 (1963).

           D. The Mueller Appointment Divides the Executive Branch Against Itself,
              Unconstitutionally Encroaching Upon the President’s Ability to Take Care
              that the Laws are Faithfully Executed.

       The Framers undertook a careful analysis in vesting powers in the three branches of

government. The trick was to devise a government that was effective enough to work, but not

effective enough to threaten individual liberty. The answer was to break up the sovereign power

in four primary ways: 1) separation of power among three branches; 2) checks and balances on

that power built into the system; 3) granting only specific limited enumerated powers to the central

government; and 4) dual sovereignty achieved by leaving general police powers to the states. Chief

Justice Roberts has referred to it as “the diffusion of sovereign power” that secures individual

liberty. Nat'l Fed'n of Indep. Bus. v. Sebelius, 567 U.S. 519, 536, 132 S.Ct. 2566, 2578 (2012)

(quoting New York v. United States, 505 U.S. 144, 181, 112 S.Ct. 2408, 2431 (1992)).

       The Framers granted the most power to Congress; that is the power to make the laws,

subject to the enumeration of powers set forth in Article I, Section 8. In order to avoid the abuse

of that power, Congress was broken into an upper and lower house, with complex checks and

balances between the two houses. In contrast, the entire power of the Executive Branch was vested

in the President. The Court has most frequently turned to Hamilton’s explanation in Federalist 70,

where he opined that vesting the Executive Power solely in the President, i.e., unity in the


                                                27
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Executive, was required for three primary reasons: 1) to ensure accountability in government; 2)

to empower the President to defend against legislative encroachments on his power; and 3) to

ensure that the President could nimbly and vigorously respond to challenges in order to protect the

nation. As stated in Printz v. United States, 521 U.S. at 922-923:

                The insistence of the Framers upon unity in the Federal Executive-
               -to insure both vigor and accountability--is well known. See The
               Federalist No. 70 (A. Hamilton) . . . . That unity would be shattered,
               and the power of the President would be subject to reduction, if
               Congress could act as effectively without the President as with him,
               by simply requiring state officers to execute its laws.

Similarly, in Free Enter. Fund, 561 U.S. at 513-514 the Court stated:

               The Constitution that makes the President accountable to the people
               for executing the laws also gives him the power to do so. That power
               includes, as a general matter, the authority to remove those who
               assist him in carrying out his duties. Without such power, the
               President could not be held fully accountable for discharging his
               own responsibilities; the buck would stop somewhere else. Such
               diffusion of authority “would greatly diminish the intended and
               necessary responsibility of the chief magistrate himself.” The
               Federalist No. 70, at 478.

   In sum, the plain language of the Constitution, the explanation provided in Federalist 70

regarding the meaning of that language and why the Framers selected it, as well as the Supreme

Court’s cases interpreting it, require that the President be the single authority in charge of the

Executive Branch, and that his authority must not be “shattered” or “diffused.” While he may

delegate powers, he may not escape the responsibility of holding those powers, and accordingly

he is held accountable for all that takes place within the Executive Branch. As he is accountable

for all that takes place within his branch, he must have control over it. And, as he must have

control, he is not subject to being undermined by attack from his advisors.



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       Dividing the Executive Branch against itself by permitting the Attorney General, acting

without the knowledge or approval of the President, to appoint a Special Counsel to investigate--

and potentially indict and prosecute--the President, would be an unacceptable departure from the

structure of the Constitution devised by the Framers, and would severely undermine the “unique

constitutional position of the President.” Franklin, 505 U.S. at 800-801. Dividing the Executive

Branch against itself would encroach upon the President’s duty to take care that the laws be

faithfully executed. The Mueller Appointment did that.

           E. The Mueller Appointment is Invalid as it has Not Been Commissioned by the
              President.

       Article II, Section 3, of the Constitution provides that the President “shall take Care that

the Laws be faithfully executed, and shall Commission all the Officers of the United States.” The

President has never commissioned Mr. Mueller as an officer of the United States. Indeed, the

Court held that the commission is necessary to complete the appointment of an officer of the United

States in Marbury v. Madison, 5 U.S. 137, 157 (1803),

               Some point of time must be taken when the power of the executive
               over an officer, not removable at his will, must cease. That point of
               time must be when the constitutional power of appointment has been
               exercised. And this power has been exercised when the last act,
               required from the person possessing the power, has been performed.
               This last act is the signature of the commission.

       The Commission Clause follows on the heels of the Take Care Clause, separated only by

a comma. The Take Care Clause requires the President to execute the law of the land. He cannot

undertake this on his own, and therefore must appoint officers of the United States to act on his

behalf. As explained by Chief Justice Marshall, the commission is the proof of appointment by

the President; it shows that the President has in fact delegated his power through the appointment.


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And, according to the reasoning quoted above, without the President’s signature on the

commission, that delegation of power is not complete.

       The proximity of the Commission Clause to the Take Care Clause strongly suggests that

the commission is more than a formality.     The Commission Clause requires that the President’s

commission acts as the President’s seal of approval of the actions taken under his authority, and

documents that the President is ultimately responsible for all acts undertaken. It certifies that the

“The Buck Stops Here.” It is not a formality, but a substantive matter, which supports Chief Justice

Marshall’s conclusion in Marbury that absent the President’s final seal of approval, an

appointment itself is not final.

       Since Mueller has not been commissioned by the President, as required by the Constitution,

his appointment is incomplete and invalid, and the acts he has taken to date are also invalid,

including the indictment of Mr. Stone.

V.       The Mueller Appointment is Invalid Because it Violates the Appointments Clause.

       The Appointments Clause of the Constitution requires principal officers of the executive

branch be appointed by the president and confirmed by the Senate. Edmond v. United States, 520

U.S. 651, 663, 117 S.Ct. 1573, 1581 (1997). The Special Counsel was not appointed through that

process. In re Grand Jury, 916 F.3d at 1050-51. He has been thus far deemed an inferior officer

subject to the supervision of the Deputy Attorney General. See id. at 1051.

       This argument has been fully briefed by Andrew Miller as well as the Concord Company

at both the District Court level and the D.C. Circuit level on appeal. Id.; United States v. Concord

Mgmt. & Consulting, LLC, 317 F.Supp.3d 598 (D.D.C. 2018). Mr. Stone adopts those arguments,

and incorporates them as if fully set forth, and specifically preserves those arguments for appeal.


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       The Special Prosecutor is a principal officer of the United States who must be appointed

and commissioned by the President and confirmed by the Senate. Recently in Lucia v SEC, 138 S.

Ct. 2044, 2051 (2018) the Court indicated a willingness to refine or enhance the “significant

authority” test to conclude that certain administrative law judges were subject to the Appointments

clause. The Mueller Appointment presents another opportunity to do so, and accordingly, the

defense preserves all rights on appeal with regard to the Appointments Clause argument.

VI.      Mueller’s Appointment was Made Without Requisite Statutory Authority

       A. In 1978, Congress Created a Detailed Law Addressing the Constitutional Issues
          Related to Appointing a Special Prosecutor to Investigate a Sitting President and
          Presidential Campaign.

         In 1978, following Watergate--and the Saturday Night Massacre where Attorneys

General Richardson and Ruckelshaus each refused to fire Archibald Cox--Congress created the

Ethics in Government Act. 22 The Act was designed, in part, to create a Special Prosecutor capable

of investigating the President or his campaign while respecting the unique position of the President,

and the separation of powers among the three branches of government. 23 The law was designed

specifically to create a Special Prosecutor capable of investigating crimes committed by the

President and/or his campaign; the precise reason for which the Mueller Appointment was made.

The Act carefully involved all three branches: a) Congress to create the law providing for the

Special Prosecutor, and to have ongoing oversight in the event a Special Prosecutor was appointed;

b) the Attorney General to determine whether a Special Prosecutor was required, and to make the




22
       28 U.S.C. 49 § 101 et seq.
23
       Title VI of the Act, which became 28 U.S.C. 39 §§ 591 – 598, was titled Special Prosecutor.

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application for the appointment of a Special Prosecutor; and, c) a special three judge court, called

the Special Division, to receive the application and actually appoint the Special Prosecutor.

         The law was the result of a thorough legislative process reflected in thousands of pages

of legislative history. It was specifically designed to handle the specific situation for which the

Mueller Appointment was undertaken. Because of that, the carefully crafted law addressed the

outcome of most of the issues being hotly debated today regarding the Mueller investigation and

resulting report, highlighting the problems that arise when such an investigation is undertaken in

the absence of specific underlying statutory authority.

         A review of the provisions of Title VI demonstrates the level of attention Congress

devoted to achieving the appropriate balance among the branches in order to constitutionally

appoint a special prosecutor capable of investigating the President, and/or a campaign to elect the

President.

         The Supreme Court upheld these Title VI provisions for appointing a special prosecutor

in Morrison v. Olson, 487 U.S. 654 (1988). Title VI was at the time, and remained until its

expiration, the only law that specifically allowed the investigation of a sitting President and

Presidential Campaign. But Congress determined that the law should expire in 1999, and has not

reenacted it since that time.




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        B. In 1999, Congress Determined that Title VI Should Expire, Ending the Role of
           Special Prosecutors Capable of Investigating Presidents and Their Campaigns.

         The original provisions discussed above were enacted in 1978 as a direct response to the

Watergate scandal. The 1978 law was amended and reauthorized in 1983, 24 and again in 1987. 25

Between 1987 and 1992, due to the breadth, length and expense of the Iran Contra investigation

by Special Prosecutor Walsh, the statute came under increased criticism. In the face of this

criticism, Congress determined that the law should not be renewed, and it lapsed on December 15,

1992.

         Following the Whitewater scandal in the Clinton Administration, however, in 1994

Congress took the action of reinstating the statute to allow the appointment of Judge Starr to

investigate President Clinton. 26 From the standpoint of Congressional intent, it is significant to

note that when faced with the investigation of a President Clinton, Congress reenacted Title VI of

the Ethics in Government Act. As with the Walsh investigation, however, the breadth, length and

expense of the Starr investigation came under a great deal of public criticism. Congress therefore

once again allowed the statute to lapse on June 30, 1999, and to date it has not been reenacted. 27

Accordingly, there is currently no law on the books that provides for the appointment of a special

prosecutor with the authority to investigate a sitting President and his Presidential campaign, as



24
        P.L. 97-409, January 3, 1983.
25
        P.L. 100-191, December 15, 1987.
26
        P.L. 103-270, June 30, 1994.
27
       The law was reauthorized for the last time on June 30, 1994, P.L. 103-270, 108 Stat. 732,
and expired under the five- year “sunset” provision on June 30, 1999.


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Title VI did. It is clear from past Congressional action that if Congress intended to have such a

law in force, it knows how to do so. Indeed, it reenacted Title VI specifically to support the Starr

investigation, and then once again removed it from the books. The only conclusion that can be

drawn is that it is the intent of Congress that there shall be no more special prosecutors

investigating the President or Presidential Campaigns. 28

       C. The General Statutes Relied Upon by Acting Attorney General Rosenstein do not
          Authorize the Appointment of a Special Counsel Capable of Investigating
          President Trump and his Campaign.

         In the face of the repeal of Title VI, Acting Attorney General Rosenstein based the

Mueller Appointment on three general statutes, 28 U.S.C. §§ 509, 510, and 515, which were passed

in 1966, none of which mentions the investigation of the President or presidential campaigns.

When the general language of these statutes is compared to the extensive and carefully crafted

provisions of Title VI, it is clear that they do not provide the explicit statement the Supreme Court

has required in the past when considering whether a statute was intended to apply to the unique

constitutional position held by the President. 29

         Title 28 United States Code Sections 509 and 510 provide general of statements and all

functions of the Department of Justice are vested in the Attorney General with specific exceptions

not relevant here. These statutes make no mention of investigating the President of the United

States or his campaign, as Title VI specifically did. It is clear from the Mueller Appointment that




28
       This is not to say that no special prosecutors may ever be appointed. It is only to say that,
given the legislative history and clear intent of Congress, special prosecutors to investigate the
President and Presidential Campaigns shall not be appointed.
29
       Franklin v. Massachusetts, 505 U.S. at 800-801.

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Special Counsel Mueller was specifically appointed to investigate the President and his Campaign.

Accordingly, the issue before the Court is whether three very general 1966 statutes--that make no

mention of granting the Attorney General the authority to appoint a special counsel to investigate

the President and his campaign--can be construed to authorize the appointment of a special

prosecutor to investigate the President and his campaign when the 1978 statute that was

specifically designed to allow the appointment of a special prosecutor to investigate the President

and his campaign was intentionally abandoned by Congress in 1999. Logic, the rules of statutory

construction, and constitutional considerations mandate an answer in the negative.

         i)      Logic.

         Logic dictates that if the general statutes pre-existing Title VI were sufficient for the job,

Congress would not have passed Title VI to begin with. There would have been no need. The

great care taken with regard to Title VI to arrive at a structure Congress believed would allow the

appointment of a prosecutor to investigate the President is not at all evident in 28 U.S.C. §§ 509,

510, and 515. These general statutes at best allow the Attorney General to enlist special lawyers

for special tasks. They never address the investigation of the President or a Presidential Campaign.

Those issues were explicitly addressed by Title VI, but Congress made the determination that Title

VI should expire. It would be illogical to assume that the Acting Attorney General can now

achieve the same exact result through reliance on the pre-existing general provisions contained in

28 U.S.C. §§ 509, 510, and 515.




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         ii)     Statutory Construction.

       The guiding light of statutory construction is to determine Congressional intent. 30 As

discussed above, Congressional intent is that special prosecutors capable of investigating the

President and/or Presidential Campaigns shall no longer exist. Construing 28 U.S.C. §§ 509, 510,

and 515 so as to have the same result as Title VI would therefore be contrary to Congressional

intent to abolish such special prosecutors by determining that Title VI should expire.

Congressional intent that any investigation into a President or Presidential Campaign requires a

specific law to support the appointment of a Special Prosecutor is illustrated by the fact that when

Congress desired the Whitewater investigation to be handled by a Special Prosecutor, it reenacted

Title VI. If Congressional intent was that 28 U.S.C. §§ 509, 510, and 515 were sufficient to appoint

a Special Prosecutor to investigate the President, Congress would not have reenacted Title VI.

       Moreover, interpreting 28 U.S.C. §§ 509, 510, and 515 to have the same exact result as

Title VI of the Ethics in Government Act would contradict the canon of statutory construction that

the legislature would not pass meaningless or redundant words into law. 31 As noted above, if 28

U.S.C. §§ 509, 510, and 515 are interpreted to mean the same thing as Title VI, then Title VI were

merely redundant, meaningless provisions. This cannot be the case. Finally, the canon of statutory

construction known as generalia specialibus non derogant provides that specific statutes control




30
      See generally, Frank H. Easterbrook, The Role of Original Intent in Statutory Construction,
11 HARV. J.L. & PUB. POL’Y 59 (1988).
31
        “[I]n interpreting a statute a court should always turn to one cardinal canon before all
others. . . .[C]ourts must presume that a legislature says in a statute what it means and means in a
statute what it says there." Connecticut Nat'l Bank v. Germain, 503 U.S. 249, 253-254, 112 S. Ct.
1146, 1149 (1992).

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over more general statutes. 32 Here, Title VI, repealed, is on all fours with the Mueller

Appointment, and controls over the more general provisions of 28 U.S.C. §§ 509, 510, and 515.

The general and specific cannot be interpreted to mean the same thing.

        D. The Most Reasonable Interpretation of 28 U.S.C. §§ 509, 510, and 515.

          Given the foregoing, the most reasonable interpretation of 28 U.S.C. §§ 509, 510, and

515 is that they allow the Attorney General to appoint a Special Prosecutor capable of investigating

crimes within the executive branch in general, but not the unique constitutional position of the

President. 33   Indeed, investigations of crimes within the executive branch, by officers of the

executive branch, routinely take place. The argument here is that when it comes to investigating

the President, the one individual vested with the entire power of the Executive Branch, these

general statutes are insufficient for the reasons discussed above. Similarly, while 28 C.F.R. §

600.1 et seq. may be sufficient to support the appointment of special prosecutors to investigate

subordinate officers of the Executive Branch, they cannot constitutionally be interpreted as a basis

for the Mueller Appointment.

        E. The Constitution Provides the Remedy.

          The argument is not that the President cannot be investigated. For example, a President

may consent to an investigation undertaken by a subordinate officer of the Executive Branch, as



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        See, e.g., Rogers v. United States, 185 U.S. 83, 88, 37 S.Ct. 552, 583 (1902).
33
        For example, the District Court for the District of Columbia ruled in 2006 that James
Comey had the statutory authority under 28 U.S.C. §§ 509, 510, and 515 to appoint Patrick J.
Fitzgerald as Special Counsel to investigate which officer of the executive branch leaked Valery
Plame’s name to the press. That matter did not involve the investigation of the President, but of
others in the Executive Branch. United States v. Libby, 429 F. Supp. 2d 27 (D.D.C. 2006).


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President Nixon did in Watergate when he appointed Leon Jaworski, and consented to special

regulations regarding Jaworski’s removal. 34 However, the primary method for the investigation

of the President is through Congress under the Impeachment Power. If Congress truly believes that

a President has engaged in high crimes and misdemeanors, the Constitution already provides the

remedy: Impeachment. The tortured history of the various special counsels who have undertaken

investigations of the President—Cox, Jworski, Walsh and Starr--demonstrates that the Framers got

it right from the start. The power to investigate and impeach the President lies with Congress, not

within the Executive Branch. Article I, Section 2, Clause 5 provides:

       The House of Representatives shall choose their Speaker and other Officers; and shall
       have the sole Power of Impeachment.

Article I, Section 3, Clauses 6 and 7 state that:

               The Senate shall have the sole Power to try all Impeachments. When
               sitting for that Purpose, they shall be on Oath or Affirmation. When
               the President of the United States is tried the Chief Justice shall
               preside; And no Person shall be convicted without the Concurrence
               of two thirds of the Members present.

               Judgement in Cases of Impeachment shall not extend further than to
               removal from Office, and disqualification to hold and enjoy any
               Office of honor, Trust or Profit under the United States: but the Party
               convicted shall nevertheless be liable and subject to Indictment,
               Trial, Judgement and Punishment, according to Law.

Article 2, Section 4 provides:

               The President, Vice President and all Civil Officers of the United
               States, shall be removed from Office on Impeachment for, and
               Conviction of, Treason, Bribery, or other high Crimes and
               Misdemeanors.

34
     Att'y Gen. Order No. 554-73, reprinted in Special Prosecutor: Hearings Before the Senate
Comm. on the Judiciary, 93d Cong., 1st Sess. 575 (1973).


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These provisions address under what circumstances, and under what process, the President of the

United States may be investigated, impeached, tried in the Senate upon articles of impeachment,

and, if removed from office, subsequently prosecuted and held accountable in a court of law.

         In his 1998 Georgetown Law Review article, The President and the Independent

Counsel, Justice Kavanaugh reviewed the practical reasons supporting this conclusion as follows:

              In an investigation of the President himself, no Attorney General or
              special counsel will have the necessary credibility to avoid the
              inevitable charges that he is politically motivated—whether in favor
              of the President or against him, depending on the individual leading
              the investigation and its results. In terms of credibility to large
              segments of the public (whose support is necessary if a President is
              to be indicted), the prosecutor may appear too sympathetic or too
              aggressive, too Republican or too Democrat, too liberal or too
              conservative.

              The reason for such political attacks are obvious. The indictment of
              a President would be a disabling experience for the government as a
              whole and for the President's political party—and thus also for the
              political, economic, social, diplomatic, and military causes that the
              President champions. The dramatic consequences invite, indeed,
              beg, an all-out attack by the innumerable actors who would be
              adversely affected by such a result. So it is that any number of the
              President's allies, and even the Presidents themselves, have
              criticized Messrs. Archibald Cox, Leon Jaworski, Lawrence Walsh,
              and Kenneth Starr—the four modern special prosecutors to
              investigate presidents.

              The Constitution of the United States contemplated, at least by
              implication, what modern practice has shown to be the inevitable
              result. The Framers thus appeared to anticipate that a President who
              commits serious wrongdoing should be impeached by the House and
              removed from office by the Senate—and then prosecuted thereafter.
              The Constitution itself seems to dictate, in addition, that
              congressional investigation must take place in lieu of criminal
              investigation when the President is the subject of investigation, and




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                 that criminal prosecution can occur only after the President has left
                 office. 35

          Leon Jaworski came to the same conclusion in the 1975 Report of the Watergate Special

Prosecution Task Force:

                 [T]he impeachment process should take precedence over a criminal
                 indictment because the Constitution was ambivalent on this point
                 and an indictment provoking a necessarily lengthy legal proceeding
                 would either compel the President's resignation or substantially
                 cripple his ability to function effectively in the domestic and foreign
                 fields as the Nation's Chief Executive Officer. Those consequences,
                 it was argued, should result from the impeachment mechanism
                 explicitly provided by the Constitution, a mechanism in which the
                 elected representatives of the public conduct preliminary inquiries
                 and, in the event of the filing of a bill of impeachment of the
                 President, a trial based upon all the facts. 36

           Ad hoc attempts to alter the Framers’ vision have repeatedly been determined to be

unsatisfactory, which is why Congress determined to sunset Title VI. It also explains the

dissatisfaction, dissention and uncertainty surrounding the issuance of the Mueller Report; what it

means, who should see it, whether the public can or cannot see some or all of it, and what happens

next. This uncertainty demonstrates that the Framers got it right, and the solution they provided

to the problem is the one that should be followed today. Indeed, absent the statutory authority

formerly provided by Title VI, it is in fact the only available remedy.




35
          Brett M. Kavanaugh, The President and the Independent Counsel, 86 GEO. L.J. 2133
(1998).
36
          U.S. GOV’T PRINTING OFFICE, WATERGATE SPECIAL PROSECUTION FORCE: REPORT (1975),
at 122.


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                                        CONCLUSION

         No federal statute authorized the Special Counsel Appointment at the level of United

States Attorneys. No statute authorized the creation of a Special Counsel to replace, not assist

United States Attorneys. 37 Congress has deliberately terminated the only statutory authority

designed to appoint a special prosecutor with the power to investigate the President or a

presidential campaign.    With that authority no longer in place, there exists no statutory

authorization for the Office of Special Counsel Mueller now purports to hold. The appointment

was illegal, the resulting office has been a nullity from inception, and all actions taken by this

illegally appointed officer should be declared null and void. The indictment of Roger Stone should

be dismissed with prejudice.


                                                 Respectfully submitted,

                                                By: /s/_______________


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37
       See discussion in the forthcoming Calabresi/Lawson article, Steven G. Calabresi & Gary
Lawson, Why Robert Mueller’s Appointment as Special Counsel Unlawful, 95 NOTRE DAME L.
REV – (2019), available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3324631.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 12, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

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                                               ___/s/ Robert Buschel_______________
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                                                                                                       March 13, 2019


The Constitution vests Congress with the legislative power, which includes authority to establish
federal agencies and conduct oversight of those entities. Criminal investigations and
prosecutions, however, are generally regarded as core executive functions assigned to the
executive branch. Because of the potential conflicts of interest that may arise when the executive
branch investigates itself, there have often been calls for criminal investigations by prosecutors
with independence from the executive branch. In response, Congress and the U.S. Department of
Justice (DOJ) have used both statutory and regulatory mechanisms to establish a process for such
inquiries. These frameworks have aimed to balance the competing goals of independence and
accountability with respect to inquiries of executive branch officials.


                                                                                   e Attorney General could request that a
specially appointed three-judge panel appoint an outside individual to investigate and prosecute alleged violations of criminal
                                                                                          e all investigative and prosecutorial

the scope, cost, and effect of the investigations (perhaps most notably the Iran-Contra and the Whitewater investigations)


Following the lapse of these statutory provisions, DOJ promulgated regulations authorizing the Attorney General (or, if the
Attorney General is recused from a matter, t
federal government to conduct specific investigations or prosecutions that may be deemed to present a conflict of interest if
pursued under the normal procedures of the agency. Spe                                     -to-
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investigative and prosecutorial functions of any United States A

The independent nature of these investigations has raised constitutional questions about the propriety of the appointment and
removal mechanisms provided for the officials leading the inquiries. These concerns were addressed by the Supreme Court in
the 1988 case of Morrison v. Olson, which upheld the constitutionality of the independent counsel statute. The reasoning of
                                                                                                                      Edmond
v. United States and the 2010 case Free Enterprise Fund v. Public Accounting Oversight Board did not apply the standard
enunciated in Morrison. The constitutional status of a statutory framework similar to the independent counsel statute is thus
subject to debate. Several bills introduced in the 116th Congress (including S. 71 and H.R. 197, which merge aspects of two
preceding bills introduced in the 115th Congress, S. 1735 and S. 1741) would statutorily insulate a special counsel from

constitutional challenge today might ultimately turn on the continued vitality of the analysis applied in Morrison.




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functions to each of the three branches of government. See generally Buckley v. Valeo, 424 U.S. 1, 123 (1976) (per
                               hesitated to enforce the principle of separation of powers embodied in the Constitution

2   See U.S. CONST. art. I; Clinton v. City of New York, 524 U.S. 417, 437-41 (1998); McGrain v. Daugherty, 273 U.S.

                                                                                      the Congress to conduct investigations

3
  See Morrison v. Olson, 487 U.S. 654, 691 (1988) ( There is no real dispute that the functions performed by the
independent counsel are executive in the sense that they are law enforcement functions that typically have been
undertaken by officials within the Executive Branch. ); id. at 706 (Scalia, J., dissenting) ( Governmental investigation
and prosecution of crimes is a quintessentially executive function.
4 See generally Kimberly Robinson, Comey Firing Could Wake a Constitutional Wolf, BLOOMBERG LAW (May 11,

2017), https://bol.bna.com/comey-firing-could-wake-a-constitutional-wolf/; George D. Brown, The Ethics Backlash
and the Independent Counsel Statute, 51 RUTGERS L. REV. 433 (1999); Niles L. Godes & Ty E. Howard, Independent
Counsel Investigations, 35 AM. CRIM. L. REV. 875 (1998).
5
  See Ethics in Government Act of 1978, P.L. 95-521, §§ 601-04, 92 Stat. 1824, 1867-75, as amended by P.L. 97-409,
96 Stat. 2039 (1983), P.L. 100-191, 101 Stat. 1293 (1987), P.L. 103-270, 108 Stat. 732 (1994).
6
  See 28 C.F.R. pt. 600.
7
  See P.L. 95-521, §§ 601-04, 92 Stat. at 1867-75, as amended by P.L. 97-409, 96 Stat. 2039 (1983).
8
  See 28 C.F.R. pt. 600.
9
  Other methods of oversight, including investigations by congressional committees or under the authority of agency
inspectors general, may also be available with respect to executive branch investigations, but are beyond the scope of
this report.
10 See Appointment of a Special Counsel

11
   See Morrison v. Olson, 487 U.S. 654, 696-97 (1988).




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12
   See discussion infra Presidential Authority to Oversee Executive Branch Officers
13
   See, e.g., Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S. Judiciary
Comm., 115th Cong. (2017).
14 The Special Counsel Independence and Integrity Act, S. 71, 116th Cong. (2019), reintroduces S. 2644 from the 115th

Congress. See Special Counsel Independence and Integrity Act, S. 2644, 115th Cong. (2017).
15
   Special Counsel Independence and Integrity Act, H.R. 197, 115th Cong. (2019).
16
   Special Counsel Independence Protection Act, S. 1735, 115th Cong. (2017); Special Counsel Integrity Act, S. 1741,
115th Cong. § 2(b), (e) (2017).
17
   See Elliot L. Richardson, Special Counsels, Petty Cases, N.Y. TIMES (June 5, 1995), http://www.nytimes.com/1995/
06/05/opinion/special-counsels-petty-cases.html; Jim Mokhiber, A Brief History of the Independent Counsel Law,
FRONTLINE (May 1998), https://www.pbs.org/wgbh/pages/frontline/shows/counsel/office/history.html (describing the
                              to investigate the Teapot Dome scandal of the 1920s and tax scandals of the 1950s).




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   See Office of Special Counsel, 64 Fed. Reg. 37,038 (July 9, 1999) (codified at 28 C.F.R. pt. 600) (introducing
regulations to replace the expired implementing regulations of the independent counsel statute).
19
   See generally Joseph S. Hall, Nicholas Pullen, & Kandace Rayos, Independent Counsel Investigations, 36 AM. CRIM.
L. REV. 809 (1999).
20
   See Mokhiber, supra note ***.
21 Nomination of Elliot L. Richardson, of Massachusetts, to be Attorney General: Hearing Before the S. Comm. on the

Judiciary, 93d Cong. 4-7, 18-20 (1973).
22
   Establishing the Office of Watergate Special Prosecution Force, 38 Fed. Reg. 14,688 (June 4, 1973).
23
                                                                                                            offenses

                                            See Nader v. Bork, 366 F. Supp. 104 (D.D.C. 1973), vacated sub nom. Nader
v. Levi, No. 1954-73, 1975 U.S. Dist. LEXIS 16791 (D.D.C. 1975) (concluding that the discharge of the special
counsel was unlawful under the regulations).
24
   See Mokhiber, supra note ***.
25
   See Ethics in Government Act of 1978, P.L. 95-521, §§ 601-04, 92 Stat. 1824, 1867-75.
26
   Id., 92 Stat. at 1824. For discussion of a challenge to the constitutionality of these provisions, see discussion infra
 Morrison v. Olson
27
   In part, the statute required disclosure of certain financial interests by specified government employees; established




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the Office of Government Ethics within the executive branch; and provided criminal regulation of certain outside
employment and lobbying activities by former government officials. P.L. 95-521, §§ 101-503, 92 Stat. at 1824-67.
28
   Id. §§ 601-04, 92 Stat. at 1867-75.
29 See id. § 601, 92 Stat. at 1867.

30
   See Ethics in Government Act Amendments of 1982, P.L. 97-409, § 2(a)(1)(A), 96 Stat. 2039, 2039.
31
   See generally Records of Independent Counsels, NAT L ARCHIVES & RECORDS ADMIN., https://www.archives.gov/
research/guide-fed-records/groups/449.html (last updated Aug. 15, 2016).
32 Walsh formerly served as a federal judge, private litigator, deputy attorney general, and negotiator in peace talks for

the Vietnam War. See Neil A. Lewis, Lawrence E. Walsh, Prosecutor in Iran-Contra Scandal, Dies at 102, N.Y. TIMES
(Mar. 20, 2014), https://www.nytimes.com/2014/03/21/us/politics/lawrence-e-walsh-iran-contra-prosecutor-dies-at-
102.html?_r=0.
33
   See 28 C.F.R. § 601.1.
34 LAWRENCE E. WALSH, FINAL REPORT OF THE INDEPENDENT COUNSEL FOR IRAN/CONTRA MATTERS, VOL. I:

INVESTIGATIONS AND PROSECUTIONS (Aug. 4, 1993), https://archive.org/stream/WalshReport/
Walsh%20Report%20volume%201%20Investigations%20and%20Prosecutions#page/n0/mode/2up.
35 Id. at xiv-xv.

36 Starr formerly served as a law professor, private litigator, federal appellate judge, and as Solicitor General. Bio of

Kenneth Winston Starr, J.D., BAYLOR UNIV. (Feb. 15, 2010), https://www.baylor.edu/mediacommunications/news.php?
action=story&story=69086. He was later succeeded by Robert W. Ray and Julie F. Thomas as independent counsels
related to that investigation. See Records of Independent Counsel Kenneth I. Starr/Robert Ray/Julie Thomas: 1994-
2004, NAT L ARCHIVES & RECORDS ADMIN., https://www.archives.gov/research/investigations/starr (last updated Dec.
7, 2016).
37 28 C.F.R. § 603.1.

38
   Id.
39 OBERT AY
   R         R , FINAL REPORT OF THE INDEPENDENT COUNSEL IN RE MADISON GUARANTY SAVINGS & LOAN
ASSOCIATION (Jan. 5, 2001), https://www.gpo.gov/fdsys/pkg/GPO-ICREPORT-MADISON/content-detail.html; Neil A.
Lewis, Final Report By Prosecutor on Clintons is Released, N.Y. TIMES (Mar. 21, 2002), http://www.nytimes.com/
2002/03/21/us/final-report-by-prosecutor-on-clintons-is-released.html.




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4028 U.S.C. § 591. The individuals subject to investigation generally included the President; Vice President; designated
heads of federal agencies; certain high-level officials in the Executive Office of the President; certain senior executive
officials in DOJ, the Central Intelligence Agency, or the Internal Revenue Service; and officers of campaign
committees for the President. See id. § 591(b). Other individuals, including Members of Congress, could be
investigated under certain circumstances as well. See id. § 591(c). The statute allowed for investigations of potential

              See id. § 591(a).
41 Id. § 592(d).
42 Id. § 592(a).

43 Id. § 592(a)(1).

44 If the Attor

                                                                                        -judge panel, which would then
have no authority to appoint a special prosecutor for the allegations. Id. § 592(b)(1). The Attorney General was
required to provide a summary of the information received and the results of the preliminary investigation. Id.
§ 592(b)(2).
45
   Id. § 592(c)(1)(B).
46
   Id. § 592(c)(1)(A).
47
   Id. § 592(c)(2).
48 Id.

49
   Id. § 592(f).




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50 Id. § 592(d).
51 Id. § 593(a) (cross-referencing 28 U.S.C. § 49).
52
   Id. § 49.
53
   Id. § 49(d).
54
   Id. § 49(f).
55
   Id. § 593(b).
56 Id. § 593(b)(2).

57
   Id. § 594(a).




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58
   Id.
59 Id. § 594(d).
60 Id. § 596(a)(1). For a discussion of a challenge to the constitutionality these provisions, see discussion infra

 Morrison v. Olson
61
   The s
rather for reasons related to the specific performance of his or her assigned duties. See Free Enter. Fund v. Pub. Co.
Accounting Oversight Bd., 561 U.S. 477, 502-

reasonable justification). But see Morrison v. Olson, 487 U.S. 654, 692 (1988) (explaining that the independent counsel

the counsel is competently performing his or her statutory responsibilities in a manner that comports with the

62
   28 U.S.C. § 596(a)(2).
63 Id. § 596(b)(1). If the investigation or prosecutions were not fully completed, but were sufficiently completed to
allow DOJ to complete them under normal processes, the independent counsel could also terminate the inquiry. Id.
64
   Id. § 596(b)(2).
65 See id. § 596(b).

66
   Id. § 594(h)(1)(B).




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67 Ethics in Government Act of 1978, P.L. 95-521, § 601, 92 Stat. 1824, 1867-73 (then codified at 28 U.S.C. § 598).
68 Id.
69 Ethics in Government Act Amendments of 1982, P.L. 97-409, 96 Stat. 2039 (1983).

70 Independent Counsel Reauthorization Act of 1987, P.L. 100-191, 101 Stat. 1293 (1987).

71
   Independent Counsel Reauthorization Act of 1994, P.L. 103-270, 108 Stat. 732 (1994).
72
   See generally supra notes ***.
73 28 C.F.R. pt. 600.

74
   See Office of Special Counsel, 64 Fed. Reg. 37,038 (July 9, 1999) (codified at 28 C.F.R. pt. 600).
75 See id.

76 Matt Zapotosky, Explaining the Precedent for and Role of a Special Counsel, CHI. TRIBUNE, May 19, 2017, at 11.

77 Lorraine Adams, Reno Asks Danforth to Run Waco Probe, WASH. POST, Sept. 8, 1999, at A5.

78 Jim Yardley, A Special Counsel Finds Government Faultless at Waco, N.Y. TIMES, July 22, 2000, at A1.

79 FFICE OF EPUTY TT Y EN
   O          D       A     G ., ORDER NO. 3915-2017, APPOINTMENT OF SPECIAL COUNSEL TO INVESTIGATE RUSSIAN




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INTERFERENCE WITH THE 2016 PRESIDENTIAL ELECTION AND RELATED MATTERS (May 17, 2017),
https://www.justice.gov/opa/press-release/file/967231/download (citing authority under 28 U.S.C. §§ 509, 510, and
515).
80 Id.

81 Id.

82 Memorandum from Rod J. Rosenstein, Acting Attorney Gen., to Robert S. Mueller, III, Special Counsel (Aug. 2,

2017) (Government s Response in Opposition to Motion to Dismiss at Attachment C, United States v. Manafort, No.
17-cr-201-1 (D.D.C. filed Apr. 2, 2018)). For a discussion on this non-public memorandum, see discussion infra
 Scope of Jurisdiction and Authority
83 Id. at 1.

84
   28 U.S.C. §§ 509, 510, 515.
85
   See Government s Response in Opposition to Motion to Dismiss at n.2, United States v. Manafort, No. 17-cr-201-1

promulgation of the current regulatory framework. See, e.g., Stephen Labaton, Reno Is Said To Choose New Yorker As
Counsel, N.Y. TIMES (JAN. 20, 1994), https://www.nytimes.com/1994/01/20/us/reno-is-said-to-choose-new-yorker-as-
counsel.html; Justice in the Inslaw Case, N.Y. TIMES (DEC. 7, 1991), https://www.nytimes.com/1991/12/07/opinion/
justice-in-the-inslaw-case.html; David Johnston, The 1992 Campaign: The House; Counsel to Review House
Overdrafts, N.Y. TIMES (Mar. 21, 1992), https://www.nytimes.com/1992/03/21/us/the-1992-campaign-the-house-
counsel-to-review-house-overdrafts.html; David Johnston, Prosecutor Who Battled Corruption, N.Y. TIMES (Oct. 17,
1992), https://www.nytimes.com/1992/10/17/us/prosecutor-who-battled-corruption.html.
86
   28 C.F.R. § 600.3(a).
87
   Letters from James B. Comey, Acting Attorney General, to Patrick J. Fitzgerald, U.S. Attorney (Dec. 30, 2003 and
Feb. 6, 2004), https://www.justice.gov/archive/osc/documents/2006_03_17_exhibits_a_d.pdf.
88 Id.; see also                    The Special Counsel shall be selected from outside the United States
Government.




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89 Letter from Jefferson B. Sessions III, Attorney General, to Charles E. Grassley, Chairman, Senate Comm. on the

Judiciary, Robert W. Goodlatte, Chairman, House Comm. on the Judiciary, and Trey Gowdy, Chairman, House Comm.
on Oversight and Gov Reform, at 2 (Mar. 29, 2018), https://www.documentcloud.org/documents/4426668-AG-Letter-
Re-IG-and-Huber-Reviews.html.
90
   Id. at 1.
91
   Id. at 3.
92 Id. (quoting Office of Special Counsel, 64 Fed. Reg. 37,038, 37,038 (July 9, 1999) (codified at 28 C.F.R. pt. 600)).

93
   Id.
94 Id. at 4.

95 Issues related to the constitutionality of special counsel appointments under the DOJ regulations are discussed in a

later section of this report. See discussion infra Appointment of a Special Counsel
96
   See 28 C.F.R. § 600.1. The statutory authority to appoint special counsels pursuant to these regulations arises from
                                                                          . See In re Grand Jury Investigation, No. 18-
3052, 2019 WL 921692, at *4 (D.C. Cir. Feb. 26, 2019).
97
   28 C.F.R. § 600.1.




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98 Id.
99
   See Office of Special Counsel, 64 Fed. Reg. 37,038 (July 9, 1999) (codified at 28 C.F.R. pt. 600).
100
    28 C.F.R. § 600.2.
101
    Id.
102
    Id. § 600.1.
103 28 U.S.C. § 508(a). If the Deputy Attorney General is likewise recused, the appointment authority would pass to the

Associate Attorney General. Id. § 508(b). See also Exec. Order 13,787, 3 C.F.R. § 16,723 (Mar. 31, 2017) (identifying
the order of succession within DOJ if the Attorney General or other senior officials are unable to serve).
104
    28 C.F.R. § 600.3(a).
105 Id.

106 Id

comple                                         Id.
107 Id. § 600.4.

108
    Id. § 600.4(a).




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109
      Id. The special counsel also has authority to appeal any decisions arising in the course of the inquiry. Id. The

                                                    Id. § 600.4(c).
110
    Id. § 600.4(b).
111
    Id.
112
    Id.
113 Id. § 600.6.

114
    See United States v. Manafort, No. 1:17-cr-00201 (D.D.C. filed Oct. 27, 2017). See also Manafort v. U.S. Dep t of
Justice, No. 1:18-cv-00011 (D.D.C. filed Jan. 3, 2018); United States v. Manafort, No. 1:18-cr-00083 (E.D. Va. filed
Feb. 13, 2018).
115
    See generally Indictment, United States v. Manafort, No. 1:17-cr-00201 (D.D.C. filed Oct. 30, 2017); Superseding
Criminal Information, No. 17-201-1 (D.D.C. filed Sept. 14, 2018). There have been a number of other indictments
resulting from the ongoing special counsel investigation, including charges of, for instance, making false statements,

                            , available at https://www.justice.gov/sco.
116See                                                                                                   -cr-00201
(D.D.C. filed Mar. 14, 2018) (alleging that the charges made in the indictment are not within the scope of the special


Manafort, No. 1:18-cr-00083 (E.D. Va. filed Mar. 27, 2018).
117 FFICE OF EPUTY TT Y EN
    O        D        A     G ., ORDER NO. 3915-2017, APPOINTMENT OF SPECIAL COUNSEL TO INVESTIGATE
RUSSIAN INTERFERENCE WITH THE 2016 PRESIDENTIAL ELECTION AND RELATED MATTERS (May 17, 2017),
https://www.justice.gov/opa/press-release/file/967231/download (the Appointment Order).
118
                                      -3, No. 1:17-cr-00201.




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119
    Id.
120 See                   esponse in Opposition to Motion to Dismiss at 7-9, United States v. Manafort, No. 17-cr-201-1
(D.D.C. filed Apr. 2, 2018).
121 Id. at 13. (quoting 28 C.F.R. § 600.4(a)). The government relied, in part, on a previous case (with similar factual

allegations regarding the validity of the scope of an investigation) that had challenged a special counsel appointed
outside the framework of the regulations discussed herein. See id. at 17 n.7. In United States v. Libby, the court held
that the original appointment order as well as a supplemental clarification jointly served to identify the legal parameters
                                                               -29, 31-32, 39 (D.D.C. 2006).
122
                                                                      9, Attachment C, United States v. Manafort, No. 17-
cr-201-1 (D.D.C. filed Apr. 2, 2018) (internal quotations omitted).
123 Id. at 22.

124
    See, e.g


Mgmt. & Consulting LLC, 317 F.Supp.3d 598, 624-25 (D.D.C. 2018) (holding that the special counsel regulations do


125   Manafort, 321 F.Supp.3d at 642, 650.
126
      Id. at 650-




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127
    Manafort, 312 F.Supp.3d at 81 (emphasis in original).
128
    Manafort, 321 F.Supp.3d at 652.
129
    Manafort, 312 F.Supp.3d at 81.
130 28 C.F.R. § 600.7(a).

131
    Id.
132 Id. § 600.7(c).

133 See id. § 600.7. Special counsels are required to comply with DOJ rules, regulations, procedures, practices, and

policies, and are directed to consult with the appropriate offices within DOJ or the Attorney General directly if
necessary. Id. § 600.7(a). Additionally, special counsels are subject to discipline for misconduct and breach of ethical
duties that are generally applicable to DOJ employees. Id. § 600.7(c).
134
    Id. § 600.6.
135
    Id. § 600.8(b).
136
    U.S. DEP T OF JUSTICE, UNITED STATES ATTORNEYS MANUAL §§ 1-13.100, 1-13.120 (1997),
https://www.justice.gov/usam/usam-1-13000-urgent-reports.
137 Government s Response in Opposition to Motion to Dismiss at 7, United States v. Manafort, No. 17-cr-201-1

(D.D.C. filed Apr. 2, 2018) (quoting Office of Special Counsel, 64 Fed. Reg. 37,038, 37,040 (July 9, 1999)).




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138 28 C.F.R. § 600.7(b).
139 Id.
140 Id.

141 For a discussion of efforts to codify a similar provision and potential constitutional questions implicated by such

proposals, see discussion infra Proposed Legislation to Restrict the Ability to Remove a Special Counsel
142 28 C.F.R. § 600.7(d).

143 Id.

144
    Id. See supra
145
    28 C.F.R. § 600.9(a)(2).
146
    Id. § 600.8(a)(1).
147
    Id. § 600.8(a)(2).
148 Id.

149
    Id. § 600.8(c).




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150 See id.
151
    Id. § 600.9(a). The Attorney General must also report to Congress upon the appointment and removal of a Special
Counsel. Id.
152
    Id.
153 See Fed. Land Bank of St. Paul v. Bismarck Lumber Co., 314 U.S. 95, 99-100 (1941); Phelps Dodge Corp. v.

NLRB, 313 U.S. 177, 189 (1941).
154 28 C.F.R. § 600.9(c).

155
    See id.
156
    CRS Legal Sidebar LSB10271, The Sp                                                      , by Michael A. Foster and
Todd Garvey. See generally Chris Strohm and Shannon Pettypiece, When Mueller Issues a Report, Trump May Try to
Suppress Some of It, BLOOMBERG (Jan. 7, 2019, 4:00 A.M.), https://www.bloomberg.com/news/articles/2019-01-07/
when-mueller-issues-report-trump-may-try-to-suppress-some-of-it.
157
    Introduced legislation would expand the reporting requirements to require the Special Counsel to report to Congress
directly at the conclusion of the investigation, or at any time the special counsel is removed, transferred, or resigns. See
S. 236, 116th Cong. (2019); H.R. 1356, 116th Cong. (2019).
158 Under what is commonly known as the nondelegation doctrine, Congress cannot delegate its authority to another

branch of government. See
the principle of separation
States, 488 U.S. 361, 371 (1989))). And Congress may not usurp certain executive branch functions by aggrandizing
power to itself. Mistretta, 488 U.S. at 411 n.35 (citing Bowsher v. Synar, 478 U.S. 714, 726-27 (1986)).




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159 See U.S. CONST. art. I; Clinton v. City of New York, 524 U.S. 417, 437-41 (1998).
160
    Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 500 (2010) ( Congress has plenary control
over the salary, duties, and even existence of executive offices. ); Myers v. United States, 272 U.S. 52, 129 (1926)
( To Congress under its legislative power is given the establishment of offices, the determination of their functions and
jurisdiction, the prescribing of reasonable and relevant qualifications and rules of eligibility of appointees, and the
fixing of the term for which they are to be appointed a
161
    See                                                                   r of the Congress to conduct investigations is


162
    See Morrison v. Olson, 487 U.S. 654, 691 (1988) ( There is no real dispute that the functions performed by the
independent counsel are executive in the sense that they are law enforcement functions that typically have been
undertaken by officials within the Executive Branch. ); id. at 706 (Scalia, J., dissenting) ( Governmental investigation
and prosecution of crimes is a quintessentially executive function. ); Buckley v. Valeo, 424 U.S. 1, 138 (1976) (per
curiam) ( The Commission s enforcement power, exemplified by its discretionary power to seek judicial relief, is
authority that cannot possibly be regarded as merely in aid of the legislative function of Congress. A lawsuit is the
ultimate remedy for a breach of the law, and it is to the President, and not to the Congress, that the Constitution entrusts
the responsibility to take Care that the Laws be faithfully executed. (quoting U.S. CONST. art. II, § 3)); United States
v. Nixon, 418 U.S. 683, 694 (1974) ( Under the authority of Art. II, [§] 2, Congress has vested in the Attorney General
the power to conduct the criminal litigation of the United States Government. ).
163
    U.S. CONST.                                                                                     Appointments Clause of
Article II is . . . among the significant structural safeguards of the constitutional scheme. By vesting the President with
the exclusive power to select the principal (noninferior) officers of the United States, the Appointments Clause prevents
                                                                                    -officers are not subject to any
constitutionally required method of appointment. See Buckley
appointee exercis
and must, therefore, be appointed in the manner prescribed by §
164
    Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 483 (2010).
165
    272 U.S. 52, 164 (1926).
166 See, e.g., Humphrey s Executor v. United States, 295 U.S. 602, 619-20 (1935) (holding that Congress had the

                                                                                              ission by providing
                                                                                                        -
       -                       Morrison, 487 U.S. at 659-60 (upholding for-cause removal restrictions for an independent
counsel).




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167 See, e.g., In re Grand Jury Investigation, No. 18-3052, 2019 WL 921692, at *1 (D.C. Cir. Feb. 26, 2019).
168
    In re Grand Jury Investigation, No. 18-3052, 2019 WL 921692, at *7 (D.C. Cir. Feb. 26, 2019).
169
    Id. at *2-3.
170
    Id. at *4.
171


172 In re Grand Jury Investigation, 2019 WL 921692, at *3-4.
173 Id. at *4.
Attorney General could rescind the regulations, the Acting Attorney General could essentially accomplish the same
thing with specific regard to Special Counsel Mueller by amending his Appointment Order of May 17, 2017, to
                                                                               Id. at *3.
174 Id. at *4-5. The Appointments Clause provides that Cong

                                                                 U.S. CONST. art. II, § 2, cl. 2.
175
    418 U.S. 683, 694 (1974).
176
    In re Grand Jury Investigation, 2019 WL 921692, at *3-4.
177
    Id. at *5-7; see supra note ***.
178 See 28 U.S.C. § 501(a).

179
    In re Grand Jury Investigation, 2019 WL 921692, at *6.




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180
    Id. at *6-7.
181 Id.
182 28 C.F.R. § 600.7(d).

183
    Compare Bowsher v. Synar, 478 U.S. 714, 729 (1986) (noting that a statutory for-cause removal provision, which

Congress, could sustain removal of a Comptroller General for any number of actual or perceived transgressions of the
                  , with Free Enter. Fund
that the three specified grounds for removal of Board Members in the Dodd-Frank Act are not exclusive). See PHH
Corp. v. Consumer Fin. Prot. Bureau, 881 F.3d
Congress has provided little guidance on the meaning of the [inefficiency, neglect of duty, or malfeasance in office
(INM)] standard, the Supreme Court in Bowsher nevertheless recognize
184 28 C.F.R. § 600.7(d). If the relevant supervisory official concluded that there are grounds under the regulation to do

so, then he could simply remove the special counsel. However, an official could conceivably refuse to carry out this
order, perhaps base
result in resignation or removal of that official by the President. In that case, the next Department of Justice official in
line to oversee the investigation would confront the same question until the special counsel was removed or the
President relented on the matter. See 28 U.S.C. § 508; Exec. Order 13,787, 82 Fed. Reg. 16,723 (Mar. 31, 2017)
   Providing an Order of Succession Within the Department of Justice ). An analogous situation occurred when
President Nixon ordered the Attorney General to fire special prosecutor Archibald Cox. See supra notes ***; STANLEY
I. KUTLER, THE WARS OF WATERGATE 383-414 (1992).
185 See Myers v. United States, 272 U.S. 52, 164 (1926); Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 537

F.3d 667, 686 n.1 (D.C. Cir. 2008) (Kavanaugh, J., dissenting) ( The Supreme Court has recognized that when the head




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of a department appoints inferior officers in that department, the President technically exercises his removal authority
over those inferior officers through his alter ego, the department head. (citing Myers, 272 U.S. at 133; Morrison v.
Olson, 487 U.S. 654, 692 (1988); Ex parte Hennen, 38 U.S. 230, 259-60 (1839))), aff d in part, rev d in part and
remanded, 561 U.S. 477 (2010).
186
    28 C.F.R. § 600.10.
187
    See United States v. Concord Mgmt. & Consulting LLC, 317 F.Supp.3d 598, 624-25 (D.D.C. 2018) (holding that
special counsel regulations do not create judicially enforceable rights); see, e.g., United States v. Blackley, 167 F.3d
543, 548-49 (D.C. Cir. 1999); United States v. Wilson, 413 F.3d 382, 389 (3d Cir. 2005).
188 See, e.g., 5 U.S.C. §§ 702, 704; S. Forest Watch, Inc. v. Jewell, 817 F.3d 965, 973 (6 th                          ion
that Manual 22A does not create legally enforceable rules is in line with other courts that have addressed challenges
                                                                                                           97 (D.C. Cir.
                          ent Policies is exactly what it appears to be, a guidance manual for NPS managers and staff

593 F.3d 1064, 1072 73 (9th Cir. 2010); Loa-Herrera v. Trominski, 231 F.3d 984, 989 (5 th Cir. 2000) (concluding that

(1st                                                           y, that are not mandated by statute or the constitution, do

1087, 1095 96 (4th Cir. 1988); Acevedo v. Nassau Cty., New York, 500 F.2d 1078, 1083 84 (2d Cir. 1974); Indep.
                   n v. Butz, 526 F.2d 228, 235 36 (8th Cir. 1975); see also Davis v. Passman, 442 U.S. 228, 239 n.18
(1979).
189 See S. Forest Watch, 817 F.3d at 973; The Wilderness Soc., 434 F.3d at 596 97; Trominski, 231 F.3d at 898;

Craveiro, 907 F.2d at 264. But see Nader v. Bork, 366 F. Supp. 104 (D.D.C. 1973) (concluding that the discharge of
the special counsel was unlawful under the regulations), vacated sub nom. Nader v. Levi, No. 1954-73, 1975 U.S. Dist.
LEXIS 16791 (D.D.C. 1975).
190
    See In re Grand Jury Investigation, No. 18-3052, 2019 WL 921692, at *3 (D.C. Cir. Feb. 26, 2019) (noting that the


191
    See Office of Special Counsel, 64 Fed. Reg. 37,038, 37,041 (July 9, 1999).
192 See 5 U.S.C. § 553(a)(2).
193
    See 64 Fed. Reg. at 37,041.




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            So long as this regulation is extant it has the force of law. . . . [I]t is theoretically possible
            for the Attorney General to amend or revoke the regulation defining the Special
            Prosecutor s authority. But he has not done so. So long as this regulation remains in force
            the Executive Branch is bound by it, and indeed the United States as the sovereign
            composed of the three branches is bound to respect and to enforce it. 199


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194   Relatedly, depending on the scope and substance of a Presidential order, one might understand a Presidential

appointment as well as remove him from office. This appears to have been the view of Robert Bork regarding President
                                                          Nomination of Robert H. Bork to be Associate Justice of the
Supreme Court of the United States: Hearings Before the Senate Judiciary Comm., 110th Cong. 361-62 (1987)
(statement of Robert Bork, Judge of the Federal Court of Appeals for the District of Columbia Circuit).
195
                                                                                                             -cr-201-1
(D.D.C. Apr. 4, 2018).
196
    In addition, notwithstanding the efficacy of such regulations, the authority of the President to unilaterally remove an
officer who he did not appoint himself is uncertain. Typically, the power of removal is understood to accompany the
power of appointment. Myers v. United States, 272 U.S. 52, 119 (1926). The officer who appoints a special counsel
thus enjoys discretion to remove him, just as agency heads enjoy the power of removal over inferior officers who they
are entrusted to appoint. See Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 497 (2010)
( Humphrey s Executor did not address the removal of inferior officers, whose appointment Congress may vest in
heads of departments. If Congress does so, it is ordinarily the department head, rather than the President, who enjoys
the power of removal. ). Whether the President, as the head of the executive branch, also has authority to directly
remove an inferior officer who he did not appoint is thus unclear. Instead, the usual practice would be for the President
to order the agency head with removal authority to dismiss the inferior officer, as was done in the removal of special
prosecutor Archibald Cox by Robert Bork. See supra notes ***.
197 Vitarelli v. Seaton, 359 U.S. 535, 549 (1959); Service v. Dulles, 354 U.S. 363, 388 (1957); Accardi v. Shaughnessy,

347 U.S. 260, 267 (1954).
198 United States v. Nixon, 418 U.S. 683, 695 (1974). See Establishing the Office of Watergate Special Prosecution

Force, 38 Fed. Reg. 30,738, 30, 739 (Nov. 7, 1973), amended by Office of Watergate Special Prosecution Force, 38
Fed. Reg. 32,805 (Nov. 28, 1973).
199
    Nixon, 418 U.S. at 695.
200 See Nader v. Bork, 366 F. Supp. 104 (D.D.C. 1973) (concluding that the discharge of the special counsel was

unlawful under the regulations) vacated sub nom. Nader v. Levi, No. 1954-73, 1975 U.S. Dist. LEXIS 16791 (D.D.C.
1975).
201 See United States v. Manafort, 312 F. Supp. 3d 60, 75 (D.D.C. 2018)      Manafort cannot move to dismiss his
complaint under the Federal Rules of Criminal Procedure based upon a claimed violation of the Department of Justice




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Special Counsel Regulations because those regulations are not substantive rules that create individual rights; they are

202 See Josh Blackman, Could Trump Remove Special Counsel Robert Mueller? Lessons From Watergate, LAWFARE
(May 23, 2017), https://www.lawfareblog.com/could-trump-remove-special-counsel-robert-mueller-lessons-watergate.
203
    U.S. CONST. art. II, § 1, cl.1.
204 Nixon

Islands, 277 U.S. 189, 201-02 (1928).
205 Presidential Authority to Decline to Execute Unconstitutional Statutes, 18 Op. O.L.C. 199, 199-203 (1994).

206
    See generally
can always choose to restrain himself in his dealings with subordinates. He cannot, however, choose to bind his

207
    28 C.F.R. § 600.7(d).
208
    See, e.g., H.R. 2444, 115th Cong. (2017); Special Counsel Independence and Integrity Act, S. 71, 116th Cong.
(2019).
209 See Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S. Judiciary Comm.,

115th Cong. (2017).




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210 S. 1735, 115th Cong. § 2(c) (2017).
211 S. 1741, 115th Cong. § 2(b), (e) (2017).
212
    Id. § 2(d).
213 Special Counsel Independence and Integrity Act, S. 71, 116th Cong. (2019); Special Counsel Independence and

Integrity Act, H.R. 197, 116th Cong. (2019).
214 S. 71 § (a) (adding 28 U.S.C. §599K-8); H.R. 197 (d).

215
    S. 71 § (a) (adding 28 U.S.C. §599K-8); H.R. 197 (e)(3). The bills also provides for the preservation of materials
                                                                        S. 71 § (a) (adding 28 U.S.C. §599K-8); H.R.
197 (e)(4)(B).
216
    U.S. CONST. art II. See Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S.
Judiciary Comm., 115th Cong. (2017). Compare Lawrence Lessig & Cass R. Sunstein, The President and the
Administration, 94 COLUM. L. REV. 1, 2-4 (1994) (asserting that the Framers did not envision a unitary executive), with
Steven G. Calabresi & Saikrishna B. Prakash, The President s Power to Execute the Laws, 104 YALE L.J. 541, 547-50
(1994)
meaning).
217
    U.S. CONST. art. II, § 1, cl. 1.
218
    Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 483 (2010).
219 Humphrey s Executor v. United States, 295 U.S. 602, 619-20 (1935).

220
    487 U.S. 654 (1988).




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221
    For more on the distinction between functionalism and formalism in constitutional interpretation, see CRS Report
R45129, Modes of Constitutional Interpretation, by Brandon J. Murrill.
222 487 U.S. 654 (1988).

223 Id. at 659-60.

224 Id. at 671.

225 Id. at 671-72.

226
    Id. at 686-                                                                      only for good cause, physical or
mental disability (if not prohibited by law protecting persons from discrimination on the basis of such a disability) or
any other condition that substantially impairs the performance of such independent counsel s duties.
The independent counsel provisions have since expired. Id. § 599.
227 487 U.S. at 690 (quoting U.S. CONST. art. II, § 3, cl. 5).

228 Id. at 693-96.

229 Id. at 703-05 (Scalia, J., dissenting).

230
    Id. at 699 (quoting THE FEDERALIST NO. 51 (Alexander Hamilton)); id




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in the equilibrium of power is not immediately evident, and must be discerned by a careful and perceptive analysis. But

231
    Id. at 728-31.
232
    Id.
233 See Akhil Reed Amar, Intratextualism, 112 HARV. L. REV. 747, 802-12 (1999) (arguing that Morrison was wrongly

decided); Starr Opposes Independent Counsel Act, CNN.COM (Apr. 14, 1999), http://www.cnn.com/ALLPOLITICS/
stories/1999/04/14/test.top/                  The Independent Counsel Statute: Bad Law, Bad Policy, 33 AM. CRIM. L.
REV. 463, 475-509 (1996); Julian A. Cook III, Mend It or End It? What To Do With the Independent Counsel Statute,
22 HARV. J. L. & PUB. POL Y 279, 288-316 (1998); Ken Gormley, Monica Lewinsky, Impeachment, and the Death of
the Independent Counsel Law: What Congress Can Salvage from the Wreckage A Minimalist View, 60 MD. L. REV. 97,
113-31 (2001).
234
    See Saikrishna Prakash, The Chief Prosecutor, 73 GEO. WASH. L. REV. 521, 525 26 (2005) ( In the wake of
Kenneth Starr s investigation of several Clinton-era scandals, a bipartisan consensus emerged against the use of
independent counsels. ); MICHAEL GERHARDT, THE FEDERAL IMPEACHMENT PROCESS 189-91 (2000); see, e.g.,
Independent Counsel Act: Hearing Before the S. Governmental Affairs Comm., 106th Cong. (Mar. 17, 1999) (statement
of Janet Reno, Attorney General)                                                                  after much
reflection and with great reluctance that the Independent Counsel Act is structurally flawed and that those flaws

235
    520 U.S. 651 (1997).
236
    Id. at 663.
237 Id. at 663-65.

238
    Id. at 664-65.




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239 Id.
240 561 U.S. 477, 491 (2010); id. at 487 (noting that the parties agreed the Commissioners could not be removed except
for cause).
241
    See id. at 519-                                                                                               -line
rule[]
242
    Id. at 496.
243
    Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 510 (2010). The Court reached this
                                                                                                     f powers grounds.
Id. at 508.
244 See Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989).
245

removal restriction unconstitutionally constrains presidential power thus does not track whether the shielded official is
                                but see Myers v. United States, 272 U.S. 52, 110 (1926) (describing the removal power
                                          .
246
    See Free Enterprise Fund, 561 U.S. at 496.
247 See Justice Kagan and Judges Srinivasan and Kethledge Offer Views from the Bench, 92 STANFORD LAW. 4 (2015)

                                                      Morrison
                         ; Elena Kagan, Presidential Administration, 114 HARV. L. REV. 2245, 2252 (2001) ( I aver
that in comparison with other forms of control, the new presidentialization of administration renders the bureaucratic
sphere more transparent and responsive to the public, while also better promoting important kinds of regulatory




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competence and dynamism. In re Aiken Cty., 645 F.3d 428, 444 (D.C. Cir. 2011) (Kavanaugh, J., concurring)
(highlighting the broad view of executive power under Article II espoused in Free Enterprise Fund).
248
    But see In re
Ethics Act neither impermissibly transfers an executive function to another branch nor orders an undue displacement of

                . Morrison v. Olson, 487 U.S. 654 (1988).
249 See Adrian Vermeule, Morrison v. Olson is Bad Law, LAWFARE (June 9, 2017), https://www.lawfareblog.com/
morrison-v-olson-bad-law; Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the
S. Judiciary Comm., 115th
most likely . . . either flat-out overrule Morrison                                            e codifying for-cause
protections for a special counsel). But see id. (statement of Professor Stephen Vladeck) (asserting that Morrison
                                                                             -of-
250
    Morrison v. Olson, 487 U.S. 654, 689-90 (1988).
251
    Id. at 693-96.
252
    S. 1741, 115th Cong. § 2 (2017).
253 S. 1741, 115th Cong. § 2(a) (2017); S. 71, 116th Cong. § (a) (adding 28 U.S.C. §§ 599K-1, K-8) (2019).

254
    Morrison, 487 U.S. at 690.




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255 28 C.F.R. § 600.7(d). See, e.g., H.R. 2444, 115th Cong. § 8(d) (2017).
256 Morrison, 487 U.S. at 663.
257 S. 71, 116th Cong. § (a) (adding 28 U.S.C. §599K-8) (2019); H.R. 197, 116th Cong. § (b) (2019); S. 1741, 115th

Cong. § 2(b) (2017); H.R. 2444, 115th Cong. § 8(d) (2017). S. 1735 would permit removal for the same reasons, but
place discretion to find those reasons with a judicial body. S. 1735, 115th Cong. § 2(c) (2017). This provision might
raise distinct issues under Article II, see discussion infra
258
    While the Court in Morrison upheld a challenge to the independent counsel provisions of the Ethics in Government
Act, one might note that the investigation underway in that case was fairly limited in scope focused as it was on one
individual at least relative to the potentially wide-ranging authority possible under the special counsel regulations.
See Morrison, 487 U.S. at 665-69. But see id. at 715-23 (Scalia, J., dissenting) (emphasizing the power wielded by the
independent counsel).
259
    See supra Post-Morrison Case Law on Appointments and Removal ; Intercollegiate Broad. Sys., Inc. v. Copyright
Royalty Bd., Inc, 684 F.3d 1332, 1340-41 (D.C. Cir. 2012) (concluding that severing a for-cause removal provision
transformed Copyright Royalty Judges from principal to inferior officers).
260
    Edmond v. United States, 520 U.S. 651, 663 (1997).
261
    Id. at 664-65.
262 See Intercollegiate Broad. Sys., 684 F.3d at 1339 (ruling that Copyright Royalty Judges were principal, rather than

inferior, officers, because they could only be removed for cause, were not subject to extensive supervision by a
superior, and could render final decisions).
263 The current scope of the specia

the full power of a United States Attorney and is not subject to day-to-day supervision. See 28 C.F.R. § 600.6 ( [T]he




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Special Counsel shall exercise, within the scope of his or her jurisdiction, the full power and independent authority to
exercise all investigative and prosecutorial functions of any United States Attorney. ); id. § 600.7(b) ( The Special
Counsel shall not be subject to the day-to-day supervision of any official of the Department. ); see also Special
Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S. Judiciary Comm., 115th Cong.


supra Oversight and Removal
approval of the Attorney General. See id. § 600.7(b) ( However, the Attorney General may request that the Special
Counsel provide an explanation for any investigative or prosecutorial step, and may after review conclude that the
action is so inappropriate or unwarranted under established Departmental practices that it should not be pursued. In
conducting that review, the Attorney General will give great weight to the views of the Special Counsel. id. §
600.4(b) ( [T]he Attorney General . . . will determine whether to include . . . additional matters within the Special
Counsel s jurisdiction or assign them elsewhere.

Reg. 37,038, 37,038 (July 9, 1999).
264
    U.S. CONST. art. II, § 2, cl. 2.
265 See Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 492-95 (2010); see also Myers v. United

States, 272 U.S. 52, 164 (1926); but see                                                 2, 619-20 (1935)
(upholding removal restrictions for members of the Federal Trade Commission because the commissioners exercised
       -                         -
(D.C. Cir. 20

266 Nick Bravin, Is Morrison v. Olson Still Good Law? The Cour                                                  , 98
Colum. L. Rev. 1103, 1106 (1998).
267
    In re                                                                                       Free Enterprise Court
repeatedly emphasized the central role of the President under Article II and the importance of that role to a government
that remains accountable to the people. The Court s rhetoric and reasoning are notably in tension with Humphrey s
Executor ).
268
    See, e.g., PHH Corp., 881 F.3d at 124 (D.C. Cir. 2018) (Griffith, J., concurring in the judgment) (construing for-
                                                                                                  vide only a minimal
restriction on                                                                                  neffective policy




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269
    See id. at 122-23 (Wilkins, J., concurring) (concluding that removal protections for the Director of the Consumer
Financial Protection Bureau should not be read to permit removal for policy disagreements as this would undermine the
independence of independent agencies).
270
    S. 71, 116th Cong. § (a) (adding 28 U.S.C. § 599K-8) (2019); H.R. 197, 116th Cong. § (e) (2019); S. 1741, 115th
Cong. § 2(d) (2017).
271 Morrison v. Olson, 487 U.S. 654, 663-64 (1988). S. 71 provides that the Attorney General may remove a special

counsel, but imposes a ten-day window in which the special counsel may challenge this decision in federal court. If the
court finds that the Attorney General does not have good cause to remove the special counsel, the removal shall not
take effect. S. 71, 116th Cong. § (a) (adding 28 U.S.C. § 599K-8).
272
    Myers v. United States, 272 U.S. 52, 106-07 (1926).
273 See, e.g.                                                             -20 (1935). But see Berry v. Reagan, No. 83-
3182, 1983 WL 538, at *6 (D.D.C. Nov. 14, 1983) (issuing a preliminary injunction barring the removal of members of
the U.S. Commission on Civil Rights from their posts).
274
    Compare Ethics in Government Act, 28 U.S.C. § 596(a)(3) (authorizing a court reviewing the removal of an
                                                                             with S. 1741, 115th Cong. § 2(d)(3) (2017)
(providing only that a special counsel shall be reinstated to his position upon a judicial finding that he was removed in
violation of the statute), and S. 71, 116th Cong. § (a) (adding 28 U.S.C. § 599K-8) ( If a court determines that the
removal of the individual who filed an action under this subsection violates this chapter, the removal shall not take
effect. The court may also provide other appropriate relief. ).
275 See Aziz Z. Huq, Removal as a Political Question,

executive branch official in the form of
276 S. 1735, 115th Cong. § 2 (2017).

277
    Id. § 2(c).




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278 Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 495 (2010).
279
    S. 1735, 115th Cong. § 2(c) (2017); U.S. CONST. art. III, § 1.
280
    Free Enter. Fund, 561 U.S. at 495.
281 U.S. CONST. art. III, § 1.

282
    Morrison v. Olson, 487 U.S. 654, 693 n.33 (1988).
283
    Id. at 682-83 ( The termination provisions of the Act do not give the Special Division anything approaching the
power to remove the counsel while an investigation or court proceeding is still underway this power is vested solely
in the Attorney General. . . . So construed, the Special Division s power to terminate does not pose a sufficient threat of
judicial intrusion into matters that are more properly within the Executive s authority to require that the Act be
invalidated as inconsistent with Article III. ).
284 Id. at 693 n.33 ( The purpose of such review is to ensure that an independent counsel is removed only in accordance

with the will of Congress as expressed in the Act. The possibility of judicial review does not inject the Judicial Branch
into the removal decision, nor does it, by itself, put any additional burden on the President s exercise of executive
authority. ).
285
    The independent counsel statute authorized the special division to terminate the office of the independent counsel.

provision and concluded that termination simply authorized the special division to terminate the office once the
investigation was completed. Morrison, 487 U.S. at 682-83.
286
    Morrison, 487 U.S. at 682-83.




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287 S. 1735, 115th Cong. § 2(a) (2017).
288 Morrison, 487 U.S. at 663-64.
289 S. 1735, 115th Cong. § 2 (2017).

290 U.S. CONST. art. III, § 2; see Massachusetts v. EPA

federal-
291
    See Allen v. Wright, 468 U.S. 737, 750 (1984); Bennett v. Spear, 520 U.S. 154, 162 (1997).
292 Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240-41 (1937).

293 Morrison, 487 U.S. at 677; Mistretta v. United States, 488 U.S. 361, 385-89 (1989); United States v. Ferreira, 54

U.S. 40, 51 (1851).
294
    See Morrison, 487 U.S. at 681 n.20; Mistretta, 488 U.S. at 385-97.
295
    See Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S. Judiciary Comm.,
115th Cong. (2017) (testimony of Professors John Duffy and Stephen Vladeck) (both noting that such a provision raises
issues under Article III).




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296
    See Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 492-95 (2010).
297
    S. 1741, 115th Cong. § 2(b), (e) (2017).
298
    S. 71, 116th Cong. § (c) (2019); H.R. 197, 116th Cong. § (f) (2019).
299 See Special Counsels and the Separation of Powers: Hearing on S. 1735 & S. 1741 Before the S. Judiciary Comm.,

115th Cong. (2017) (testimony of Professor John Duffy).
300
    Buckley v. Valeo, 424 U.S. 1, 129 (1976) (per curiam).
301
    Bowsher v. Synar, 478 U.S. 714, 727 (1986).
302 See Weiss v. United States, 510 U.S. 163, 173 74 (1994); Shoemaker v. United States, 147 U.S. 282, 300-01

(1893).
303
    See Constitutional Separation of Powers Between President & Cong., 20 Op. O.L.C. 124 (1996) (asserting that
  engthening the term of an officer who may be removed only for cause would be constitutionally questionable ).
304 Myers v. United States, 272 U.S. 52, 126 (1926). See generally Glidden Co. v. Zdanok, 370 U.S. 530 (1972).

305
    See Tenure of Office Act of March 2, 1867, 14 Stat. 430, ch. 154. Lower courts have approved the extension of
terms of bankruptcy judges, who may only be removed for cause under 28 U.S.C. § 152. See In re Inv. Bankers, Inc., 4
F.3d 1556, 1563 (10th Cir. 1993). One court cautioned, however, that a prospective extension of term of office
becomes similar to an appointment . . . when it extends the office for a very long time In re Benny, 812 F.2d 1133,
1141 (9th Cir. 1987). Bankruptcy judges are judicial, rather than executive branch officers.



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Legislative Attorney                                  Legislative Attorney




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306   See Weiss, 510 U.S. at 174-76.



Congressional Research Service         R44857                                                           34
4/11/2019         03-02-99:
                        CaseREMARKS: PREPARED REMARKSDocument
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                                   PREPARED REMARKS FOR DEPUTY ATTORNEY GENERAL ERIC HOLDER

                                                         HOUSE JUDICIARY SUBCOMMITTE

                                                                   March 2, 1999

                                                                     2:00 P.M.



            Mr. Chairman, Mr. Nadler and Members of the Subcommittee:

            Thank you for inviting me to present the views of the Department of Justice on the
            Independent Counsel Act. The Justice Department has administered the Act since its
            inception, and we have developed some opinions about its operation since the last
            reenactment that I will share with you. But I want to state an important limitation
            regarding my testimony at the outset -- a limitation that I know each of you understands:
            I am concerned that my comments not in any way interfere with ongoing investigations or
            litigation, and therefore I will be unable to give specific examples or direct my remarks
            to a specific Independent Counsel or a specific investigation.

            The Origins of the Act

            Let me begin by addressing the reasons that gave rise to the present Independent Counsel
            Act. Congress passed the Act as a post-Watergate reform, intending to prevent the
            reoccurrence of the crisis in government that arose when President Nixon directed that
            Special Prosecutor Archibald Cox be fired. President Nixon's decision ultimately
            precipitated the resignation of the Attorney General and the Deputy Attorney General.

            The Act was based upon the premise that the appearance of a conflict of interest may exist
            when the Justice Department of any particular Administration investigates the highest
            ranking officials of that Administration. Therefore, the Act set out to establish a
            prosecutorial entity to handle such cases that would be separate and apart from the
            Administration and the Department of Justice. Only in this way, the drafters reasoned,
            could the investigation have sufficient credibility to provide assurance to the American
            people that there had been no coverup and no undue political influence exerted in favor of
            the Administration.

            There can be no question that these goals are highly desirable. In fact, by seeking to
            prevent conflicts of interest, the Independent Counsel Act appeared to be consistent with
            the long-established practices of the Department of Justice and other prosecutorial
            offices, in that it provided an alternative prosecutor in those limited circumstances in
            which the prosecutor with original jurisdiction was forced to recuse himself or his
            office.

            The Act Has Failed in its Goal of Removing Politics from the Process

            Despite those good intentions, the Act has failed to accomplish its primary goal: the
            enhancement of confidence in the rule of law by the American people. Indeed, I have
            reluctantly concluded that decisions and actions under the Act, both by Independent
            Counsels and by the Attorney General, inevitably and unavoidably become such targets for
            attack that public confidence in the administration of justice in these high-profile cases
            has been undermined rather than enhanced. The Act was supposed to increase trust in our
            government; unfortunately, it has diminished it.(1) My point does not have to do with any
            particular inquiry or investigation, it has to do with the fact that the types of
            decisions we are talking about here can be controversial - and that a climate of
            politicization pervades the process regardless of which way a specific decision,
            investigation, or prosecution comes out.


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            In part, this is because the Independent Counsel Act does not, and constitutionally
            cannot, bar the participation of persons who have been nominated by the President and
            confirmed by the Senate from the difficult decision of whether to initiate the
            investigation and possible prosecution of a crime. The Supreme Court, in Morrison v.
            Olson, tethered its finding that the Act was constitutional to the fact that the Executive
            Branch - through the Attorney General - played a vital role in several key decisions under
            the Act, such as whether to seek appointment of an Independent Counsel, what limited
            jurisdiction to ask the court to confer on him, and whether to remove him.(2) And yet, the
            fact that Attorneys General must remain key players in the process mean that they will be
            inevitably second-guessed, no matter what decision they make on the appointment and
            supervision of any particular independent counsel. An Attorney General is, after all, a
            member of the President's cabinet, and the Act does not remove that purported conflict of
            interest. Instead, it creates an artificial process that divides responsibility and
            fragments accountability.

            The Founders set up three branches of government: A Congress that would make the laws, an
            Executive that would enforce them, and a judiciary that would preside over the momentous
            decisions of whether a particular party had broken them. The Attorney General, who has
            been appointed by the President and confirmed by the Senate, is publicly accountable for
            the decisions she makes and - as all of us in this room know - must answer to Congress in
            the oversight and budgetary processes for her decisions. Congress' substantial oversight
            and funding powers, when coupled with the power of the press, constitute a structure of
            accountability.

            It was for this reason that the American republic survived for over 200 years without an
            Independent Counsel Act.(3) The Act, by contrast, vests this immense prosecutorial power
            in an inferior officer who is not subject to the ordinary controls of any branch of
            government; and this officer is someone who has not been confirmed by the Senate and who,
            as former Attorney General Barr stated, is not subject to the same sort of oversight or
            budgetary constraints that the publically accountable Department of Justice faces day in
            and day out.(4) Under such a scheme of diffuse accountability, it can be no surprise that
            the politicos and pundits attack relentlessly every actor on the stage - the Attorney
            General, the Independent Counsel, the witnesses, the media, and at times even the public.

            The Act Has Major Flaws in that its Structure Removes the Constraints of Prosecutorial
            Discretion

            At the same time that the Act requires politically appointed officials to make decisions
            that will inevitably be criticized as political, it has exacted a heavy price -- both
            financially and by creating unintended consequences. You have seen much reported in the
            media and other hearings about the extraordinary expense of a number of Independent
            Counsel investigations. I believe that, in part, such costs are inherent in a system that
            requires a prosecutor to set up an office from scratch (including hiring prosecutors,
            other attorneys, administrators, clerical staff, and consultants, and securing office
            space); conduct an investigation in which it is expected that no stone will be left
            unturned; prepare a comprehensive final report; and litigate attorneys' fees. This is a
            very expensive way to do business. As the body that passes the federal budget each year,
            you have the responsibility of deciding whether or not this cost is justified.

            With respect to the undesirable consequences of the Act, I begin with the general
            observation that in seeking to ensure independence the statute removes many of the
            constraints that normally limit prosecutors -- constraints that exist for good reason
            under our system of government.(5) In so doing, the Act's structure comes dangerously
            close to tipping the traditional balance of fairness in the conduct of criminal
            investigations and prosecutions. Independent counsel are largely insulated from any
            meaningful budget process, competing public duties, time limits, accountability to
            superiors and identification with the traditional long-term interests of the Department of
            Justice. This insulation contributes greatly to the independence of these prosecutors, but
            it also eliminates the incentive to show restraint in the exercise of prosecutorial power.
            Such restraint, usually referred to as prosecutorial discretion, is essential to our
            system of justice, and is a prosecutorial hallmark.(6)

            Moreover, there are other factors in Independent Counsel matters that minimize the
            ordinary constraints that underlie our system of prosecutorial discretion. Among other
            things, an Independent Counsel often faces: (1) a mandate to investigate a matter that the
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            statute defines as warranting further investigation; (2) a charged climate in which public
            figures are demanding prosecution; (3) the reality that the success of his or her endeavor
            will be measured by whether indictments and convictions are obtained; and (4) the prospect
            of preparing a final report that will be reviewed by persons with some non-law enforcement
            interest in the investigation.

            All of these provide an impetus to investigate the most trivial matter to an unwarranted
            extreme, and to resolve all doubt against the subjects of an investigation. These are not
            problems with individual Independent Counsels, they are simply the incentives that the
            statutory scheme creates. An independent counsel who does not indict faces criticism for
            wasting both his time and the taxpayers' good money.(7) As the old adage, adapted from
            Mark Twain, goes: To a man with a hammer, a lot of things look like nails that need
            pounding.

            Senators McConnell and Dodd have recently discussed these structural problems in a joint
            Op-Ed. They write:

            The Independent Counsel Act was passed in response to Watergate with the admirable goals
            of promoting good government, policing the executive branch, and restoring public faith in
            elected officials. Ultimately, however, the law tilted the constitutional balance of
            powers, squandered taxpayer dollars, and created public cynicism and distrust. The current
            independent counsel law is opposed by nearly every former living attorney general . . . .
            The law gives virtually unchecked power, virtually unlimited budgets and completely
            distorted incentives - all to one man or woman whose sole job is to investigate a public
            official.(8)

            It is for these reasons that the Justice Department has reluctantly come to the conclusion
            -- and I must emphasize reluctantly -- that there are fundamental structural flaws with
            the Act. These flaws, we believe, pervade the entire statute. Therefore, the Department
            opposes the reauthorization of the Independent Counsel Act. The Department believes that
            the Act does not serve the goals it was designed to serve, and that those goals can be
            served by utilizing the Attorney General's authority to appoint a special prosecutor
            whenever necessary. Over the long course of American history, the Department has
            successfully prosecuted a number of high-level political officials, and has not refrained
            from appointing a special prosecutor in instances where it would be appropriate.

            In some cases, it was not necessary to appoint a special prosecutor. The Department
            prosecuted Vice President Spiro Agnew while he held office and prosecuted Bert Lance, the
            former Director of the Office of Management and Budget, soon after he left the
            Administration. When the Department has deemed it appropriate, it has effectively used its
            authority to appoint a special prosecutor. Paul Curran investigated matters pertaining to
            a peanut warehouse owned by President Carter's family while he was still in office. Leon
            Jaworski investigated President Nixon, some members of his cabinet, and others. Although
            the President ordered the firing of Mr. Jaworski's predecessor, Archibald Cox, the
            outstanding results Mr. Jaworski achieved present ample evidence that, in the rare cases
            that it is necessary, a non-statutory special prosecutor can effectively prosecute high-
            level members of an Administration even when the President attempts to end the
            investigation.

            Apart from the major structural problems I have discussed, our experience has also
            persuaded us that other problems with the Act further exacerbate its costs and burdens.
            These other problems exist in a different category from the ones I have been talking
            about, as they could be more easily remedied by changes in the wording of the statute if
            Congress decides to re-authorize it. But the Department of Justice joins the many experts
            who have concluded that the fundamental flaws in the Act will remain, even if Congress
            addressed all of the other problems in the Act. Those persons now opposed to
            reauthorization include two of the original proponents of the Act, former Attorney General
            Griffin Bell and former Senator Howard Baker, as well as former Attorney General William
            Barr and former United States Attorney and Independent Counsel Joseph DiGenova.(9) Like
            the Justice Department, they have concluded that the Act should not be renewed.

            The Scope of the Act

            First, we have concluded that the group of individuals who are automatically covered by
            the Act's provisions is too broad. As you know, we do not believe that the Act should

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            cover anyone because it does not succeed in meeting its goals. Even if the Act did
            succeed, however, it presumes there to be a conflict of interest where none usually exists
            when it extends coverage to White House officials at a certain pay level, Cabinet
            Officers, campaign officers, and others.

            The Department of Justice can, in the majority of these cases, effectively and credibly
            investigate or prosecute any of these public officials. The inclusion of such a large
            group of individuals within the mandatory provisions is unnecessary, particularly when
            discretionary provisions allow the Attorney General to invoke the Act if investigation of
            any individual would constitute a conflict of interest.

            The Triggering Mechanism

            Another area where the Department of Justice has encountered repeated difficulties
            involves the mechanisms and standards the Act sets up to "trigger" its provisions. Having
            dealt with these concepts in actual application, I understand how difficult it is to
            articulate -- by promulgating an abstract U.S. Code provision -- the kind of intricate
            standards that prosecutors develop after years of experience. I can only say that the
            statute, while making a valiant attempt, does not succeed.

            During an initial inquiry under the Act, the Attorney General must decide "whether grounds
            to investigate exist not later than 30 days after the information" that a covered person
            "may have violated any Federal criminal law" "is first received." In making this decision,
            the Act requires the Attorney General to decide whether "the information" supporting any
            such violation "is specific and from a credible source."(10) Now, as a prosecutor of
            public corruption cases for twelve years, as a judge on the Superior Court of the District
            of Columbia, and as the United States Attorney for this District, I've had a fair amount
            of experience with trying to assess the credibility of witnesses. From my various
            experiences, I can tell you that credible sources are sometimes mistaken. And, similarly,
            less than credible sources are sometimes accurate. The statute seems to ignore these
            possibilities. The term "may have violated" a statute is very broad and subject to many
            interpretations.(11) As a result, the Act sometimes requires the Department to take action
            that it would never -- and I mean never -- take in an ordinary case against a non-covered
            person.

            The most serious problem with the standards of the Act at this phase of decisionmaking by
            the Attorney General, however, is its limitation on the consideration of the issue of
            criminal intent. During this initial period, the Attorney General may not consider the
            intent of the subject of the allegation, no matter what the evidence of his or her intent
            - or lack thereof - is. There seems to be no reason or need for this presumption, which
            requires us to treat our highest ranking officials differently from every other citizen in
            our country. Forcing the Attorney General to a decision, almost always made publicly, that
            an allegation against a high government official is both specific and credible, when she
            has been artificially barred from even considering a critical element of the offense is
            grossly unfair to the subject and misleading to the public.(12)

            The Decision of Whether to Appoint an Independent Counsel

            At the next stage of decisionmaking, following a preliminary investigation, an Attorney
            General must decide whether an Independent Counsel should be appointed. The standard he or
            she must apply is whether there are reasonable grounds to believe that further
            investigation is warranted, a standard that is also unclear and subject to differing
            interpretations. After all, many prosecutors believe that, if they were unconstrained by
            time and resources, "some" further investigation would be warranted in virtually any
            matter. Every prosecutor has doubts and additional things that he would like to verify
            given the time and money. Should investigation be conducted even where there is no
            reasonable prospect of making a prosecutable case? The answer is not plain from the
            statutory language, and any effort to develop a reasonable interpretation of this standard
            in a particular case will be criticized in the highly charged milieu in which these
            decisions must be made.

            The problem of how to assess the evidence concerning the element of criminal intent
            continues at this phase of the process as well. In making that determination, the Act
            mandates that the Attorney General may not base a finding that no further investigation is
            warranted upon a lack of criminal intent, unless there is clear and convincing evidence of

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            the lack of intent. A standard requiring proof of a negative by clear and convincing
            evidence is extraordinarily difficult to apply. This standard also stands traditional
            prosecutorial decisions on their head. In almost every criminal case, we require some
            positive evidence of intent before we proceed. Here, the opposite is demanded.

            Another problem with the statute is the restrictions it places upon the Department in
            conducting a preliminary investigation. The absence of compulsory process - the subpoena
            power - greatly handicaps the search for truth, and, when combined with the severe time
            limits of the Act, could result in the unwarranted appointment of an Independent Counsel
            simply because the Department was unable to complete a fact finding process that would be
            quite simple with the availability of proper tools.

            The Selection Process for an Independent Counsel

            After the Attorney General has decided to seek the appointment of an Independent Counsel
            under the Act, the next step involves the actual selection process by the three-judge
            panel known as the Special Division. However, the Act gives the judges no real standards
            or qualifications to look for in making their choice. It provides for no selection
            protocol, visible or otherwise. And, as Judge Butzner has stated, in some instances the
            Special Division has encountered great difficulty in finding someone available for
            appointment as an Independent Counsel, resulting in a significant delay of the
            investigation.(13)

            Jurisdictional Disputes

            Jurisdictional ambiguities inherent in the provisions of the Act have emerged as a serious
            problem, at times leading to disagreements between Independent Counsels and the Department
            and often demanding a great deal of time for resolution.(14) While in most cases the
            disagreements have been resolved cooperatively between the Independent Counsel and the
            Department, there have been several conflicts between Independent Counsels and the
            Department over who should handle certain matters. At the heart of these disagreements
            seems to be a difference in views as to the appropriate role of the Independent Counsel.
            The Department of Justice views the Act as a limited solution to a particular problem: a
            conflict of interest with respect to a particular person causing the Department to be
            unable to perform its usual prosecutorial role in the handling of specific allegations
            that have been reviewed in the course of a preliminary investigation, and found to warrant
            further investigation. In our view, matters outside that narrow scope should be handled by
            the Department in the ordinary course.

            The ambiguities in the statute, however, have created a natural tendency for Counsels to
            view their institutional role as having all the authority that other prosecutors have, and
            to believe that they should be able to investigate and prosecute all avenues, wherever
            those avenues may lead. This is, again, a natural reaction created by the structure of the
            Act, which creates an incentive for independent counsels to expand their authority to
            increase the probability that one of their investigations will result in a conviction, and
            thereby justify their expenditures.

            Some litigation over this issue has occurred. Rejecting the Department's position that the
            Attorney General's consent is required, the Special Division has held that it may refer to
            an Independent Counsel the jurisdiction to investigate matters that are "related" to the
            original grant of jurisdiction without first obtaining the consent of the Attorney
            General.(15) In addition, the courts have applied what we view as an unduly expansive
            interpretation of what is a related matter, with the result that an Independent Counsel
            can be given jurisdiction to investigate the associates of a covered person for alleged
            crimes that have the most tangential relationship to the alleged crimes by the covered
            person.(16) Thus, Independent Counsels may be able to investigate matters for which the
            Attorney General never contemplated seeking an Independent Counsel, and this may be done
            in some circumstances without her knowledge or participation. I suggest that this goes far
            beyond the goals envisioned by the statute's drafters, and I question the need for such an
            extreme solution to such a limited problem.

            In addition to the need for limitation and clarification on the issue of relatedness,
            there is also confusion about what constitutes a matter "arising out of" an Independent
            Counsel's investigation. The Department has always taken the position, based on the
            examples in the Act and the legislative history, that this language refers to crimes

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            intended to interfere with the investigation itself, like obstruction of justice or
            perjury. Some Independent Counsels and some courts interpret the language to mean any
            crime uncovered by the Independent Counsel during the course of his or her investigation,
            and have expanded their investigations accordingly.

            We also believe that the provision of the Act that has been interpreted to allow
            Independent Counsels to obtain jurisdiction over related matters from the Special Division
            without the knowledge or consent of the Attorney General interferes with executive branch
            responsibilities in a manner that raises serious separation of powers concerns, and brings
            with it serious practical consequences. The Act should not take from the Attorney General
            jurisdiction that she has not knowingly ceded to another, for to do so would trammel upon
            the Executive's core prosecution power. Indeed, the fact that the Act allows for such an
            ex parte process could result in dual investigations where prosecutors step all over each
            other, or wasted resources in investigations of matters already concluded.

            Finally, there have been similar disagreements between the Department and Independent
            Counsels over the scope of the provision authorizing Counsels to handle civil matters that
            they consider necessary. The Department sees serious problems in the empowering of
            independent criminal prosecutors to bind the United States in civil suits and settlements.
            We believe that this provision was intended to be limited to those instances where the
            civil authority is essential to the successful completion of the criminal matter, such as
            handling a civil contempt case involving a witness, or intervening to request that a civil
            case be stayed pending resolution of the criminal matter.

            Removal

            My description of these jurisdictional disputes between the Department and the Independent
            Counsels causes me to return to the subject of checks and balances, or the lack thereof,
            provided by the Act. It is difficult for the Department to litigate or even express these
            quite legitimate views without being accused of improper interference with an Independent
            Counsel's work -- and I will not be surprised if my observations today are challenged by
            some on that ground - though, as I said at the outset of my testimony, my remarks address
            the structure of the Act and the incentives it creates, not the actions of any particular
            Independent Counsel. If even such generalized testimony can be the subject of criticism, I
            would ask you to think about how much more difficult it would be for an Attorney General
            to exercise the authority provided in a provision that the Supreme Court highlighted in
            its discussion of the constitutionality of the Act, the removal provision.(17) That part
            of the Act allows the Attorney General to remove an Independent Counsel for enumerated
            causes. Implicit in the Attorney General's authority to remove must be the authority to
            investigate serious allegations of misconduct that come to her attention. But how can
            the Department investigate an Independent Counsel without facing
            allegations of attempting to stifle his or her independence? It
            will always be extremely difficult for any Attorney General to
            exercise the authority to investigate, let alone remove, an
            Independent Counsel.
            The Reporting Requirement

            A final problem that I wish to address briefly is the Act's requirement that a final
            report be prepared by the Independent Counsel. Although there is a legitimate concern that
            the American people have a right to know the outcome of an investigation of their highest
            officials, the reporting requirement goes directly against most traditions and practices
            of law enforcement and American ideals. It is contrary to our concept of a presumption of
            innocence, our placing of high value on rights of privacy, and our Departmental tradition
            that we reveal offenses in the courtroom during a criminal trial, not by filing a document
            that is never filed when we decline to prosecute ordinary criminal cases and that may
            reveal information that subjects an individual to public embarrassment. These are all
            values that I tried to emphasize when I was a public corruption prosecutor and a United
            States Attorney. But worst of all, as I stated earlier, the reporting requirement provides
            an incentive for Independent Counsel to over-investigate every detail in order to avoid
            criticism that their final reports missed something.

            Conclusion


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            The concerns of the original drafters of the Act are as valid today as they were in the
            post-Watergate era. There are a limited number of criminal matters that should be handled
            in a special way, in order to give the American people confidence that the outcome was not
            influenced by political considerations from either party.

            The experience of the Department over these last five years has been enlightening. It
            takes a close-up view of the operation of the Independent Counsel Act to understand that
            it has serious flaws. The Department of Justice has reluctantly come to the conclusion
            that the structural flaws we have identified here cannot be fixed. Accordingly, we have
            been giving much thought in the Department of Justice to alternative ways to achieve this
            goal. We will be happy to work with the Congress in your efforts to accomplish this most
            difficult task.

            REFERENCES

            1. Robert Bork, Dubious Counsel: Independent Counsel Law Should Be Allowed to Lapse,
            National Review, Mar. 8, 1999, at 18 ("Given the intense partisanship that too often
            infects the independent counsel's office, the law is as likely to produce spectacular
            injustice as it is to achieve justice.").

            2. Morrison v. Olson, 487 U.S. 654, 671, 686, 695-96 (1988).

            3. See Remarks of Theodore Olson, 54 Wash. & Lee L. Rev. 1515, 1584 (1997) ("We got along
            in this country for almost 200 years without an independent counsel statute, and I want to
            make the point . . . that there is nothing wrong with the idea of going outside the
            Department of Justice to pick someone special to pursue an investigation if public
            confidence requires it. Bill Barr, when he was Attorney General, did that three times . .
            . . I think the thing that is bad about the independent counsel statute is that it is
            mandatory in so many respects. It has so many opportunities for use for political purposes
            . . ."); Terry Eastland, Ethics, Politics, and the Independent Counsel (1982).

            4. See Remarks of Former Attorney General William P. Barr, 54 Wash. & Lee L. Rev. 1515,
            1534-35 (1997) ("[W]hat the statute does is it takes [discretion] away from executive
            branch officials and an institution that is making those judgments every day, and has a
            track record of making those judgments, and puts it outside and gives it to somebody else
            to make, someone who I don't feel has enough accountability, someone who has too narrow a
            scope and loses perspective as to where they are going and to drive against an
            individual.").

            5. See Gerald E. Lynch, The Independent Counsel: The Problem Isn't in the Starrs but in a
            Misguided Law, Wash. Post, Feb. 22, 1998, at C2 ("Independent counsels are not accountable
            to anyone. Their judgments float free of resource constraints, of the constant comparison
            of varied cases and of electoral checks. Given the full investigative power of the state,
            a broad statute book and unlimited resources, a prosecutor can develop at least the
            suspicion of a criminal case against just about anyone. And the isolated and politicized
            context of an independent counsel investigation provides an incentive to do just that.");
            Akhil Reed Amar, The Unimperial Presidency, New Republic, March 8, 1999, at 28.

            6. See Cass R. Sunstein, Unchecked and Unbalanced: Why the Independent Counsel Act Must
            Go, American Prospect, June 1998, at 22 ("The safeguards that come from the combination of
            a limited budget and a wide focus are crucial contributors to human liberty under law --
            as crucial, perhaps, as any provision of the Bill of Rights. They discourage prosecutors
            from becoming single-mindedly preoccupied with one target of investigation and therefore
            tempted to abuse the powers of their office."); Morrison, 487 U.S., at 732 (Scalia, J.,
            dissenting) ("How frightening it must be to have your own independent counsel and staff
            appointed, with nothing else to do but to investigate you until investigation is no longer
            worthwhile - with whether it is worthwhile not depending upon what such judgments usually
            hinge on, competing responsibilities. And to have that counsel and staff decide, with no
            basis for comparison, whether what you have done is bad enough, willful enough, and
            provable enough, to warrant an indictment.").

            7. See Cass R. Sunstein, Repeal the Independent Counsel Act, Wash. Post, Feb. 1, 1998, at
            C9.

            8. Mitch McConnell & Christopher Dodd, No More Independent Counsels, W.S.J., Feb. 23,
            1999, at A22.

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            9. "The statute is compromised at its very core. It cannot be nit-picked and amended into
            a satisfactory form. The statute's mere presence in any form politicizes the entire
            process by which we accuse people, investigate them, and eventually charge them with
            crimes or exonerate them. The initiation process under this statute invites all the
            elements that should not be involved when deciding to initiate a criminal investigation of
            any person, namely personal and political motivations." Joseph E. DiGenova, The
            Independent Counsel Act: A Good Time to End a Bad Idea, 86 Geo. L. J. 2299, 2303 (1998).
            See also Howard Baker, The Separation of Powers: The Roles of Independent Counsels,
            Inspectors General, Executive Privilege and Executive Orders, Final Report of the National
            Commission on the Separation of Powers, December 7, 1998; Griffin Bell, Prepared Testimony
            on the Independent Counsel Statute for the Senate Governmental Affairs Committee, February
            24, 1999.

            10. 28 U.S.C. §591(a),(d)(2).

            11. See Remarks of Former Attorney General Barr, supra, at 1529 ("The standard for
            commencing a preliminary investigation is very low. It is not evidence of a crime. . . .
            And it is very hard to knock out an allegation on the grounds of lack of credibility
            because 90% of these things come from the newspapers; there are some facts set forth;
            congressmen then push it to get an independent counsel named.").

            12. See Remarks of Former Attorney General Barr, supra, at 1531 ("That is an area of great
            mischief, because I would say most of these cases turn on intent and it sort of reverses
            the burden to say that the Attorney General can't dispose of this unless he has clear and
            convincing evidence").

            13. How Independent Counsels are Chosen: The Inside View, Wash. Post, Aug. 11, 1997, at
            A15.

            14. Donald C. Smaltz, The Independent Counsel: A View From Inside, 86 Geo. L. J. 2307,
            2336 (1998) ("The independent counsel's limited jurisdiction quickly becomes a breeding
            ground for jurisdictional challenges . . . . These delay the investigation. Often, in
            peeling the investigatory onion, new crimes are revealed by the investigation that may, in
            turn, spawn new jurisdictional issues. Jurisdictional disputes sometimes occur between the
            independent counsel, who naturally desires to fully explore the facts as is his statutory
            obligation, and the DOJ, which sometimes takes a more limited view of the independent
            counsel's mandate. When this occurs-more delay.").

            15. In re Espy, 80 F.3d 501, 504-06 (D.C. Cir. 1996).

            16. See, e.g., United States v. Blackley, __ F.3d __, __, 1999 WL 26877, *3-6 (D.C. Cir.
            1999).

            17. Morrison, 487 U.S., at 671, 686, 695-96.




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                                  ORDER NO. 3915-2017
                         APPOINTMENT OF SPECIAL COUNSEL
                 TO INVESTIGATE RUSSIAN INTERFERENCE WITH THE
                2016 PRESIDENTIAL ELECTION AND RELATED MATTERS

       By virtue of the authority vested in me as Acting Attorney General, including 28 U.S.C.
§§ 509, 510, and 515, in order to discharge my responsibility to provide supervision and
management of the Department of Justice, and to ensure a full and thorough investigation of the
Russian govemmenfs efforts to interfere in the 2016 presidential election, I hereby order as
follows:

(a)    Robert S. Mueller III is appointed t() serve as Specia] Counsel for the United States
Department of Justice.

(b)    The Special Counsel is authorized to conduct the investigation confinned by then-FBI
Director James 8. Corney in testimony before the House Permanent Select Committee on
Intelligence on March 20, 2017, including:

       (i)      any links and/or coordination bet ween the Russian government and individuals
                associated with the campaign of President Donald Trump; and

       (ii)     any matters that arose or may arise directly from the investigation; and

       (iii)    any other matters within the scope of 28 C.F.R. § 600.4(a).

(c)    If the Special Counsel believes it is necessary and appropriate, the Special Counsel is
authorized to prosecute federal crimes arising from the investigation of these matters.

(d)    Sections 600.4 through 600. l 0 of Title 28 of the Code of Federal Regulations are
applicable to the Special Counsel.




Date ' 
 1
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                                                     U.S. Department
                                                     of Justice

                 Special Counsel’s Office
              Statement of Expenditures
October 1, 2017 through March 31, 2018
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The accompanying Statement of Expenditures summarizes the financial activity of the Special
Counsel’s Office (SCO) for the period October 1, 2017 through March 31, 2018. As an
organization within the Department of Justice, the SCO is required to comply with the rules,
regulations, procedures, practices, and policies of the Department of Justice.1 SCO management
is responsible for designing, operating, and maintaining a system of internal control to enable the
SCO to accurately report its financial information to the Department and meet the requirements
of applicable laws and regulations. In addition, SCO management is responsible for ensuring
that controls exist to meet the requirements of DOJ Order 2030.4G, Control of Funds under
Apportionment.


The Department recognizes the importance of maintaining adequate internal control and is
committed to the continuous improvement and oversight of financial management controls. The
Department has a network of internal review groups that provides assistance to components with
their internal control programs. As part of the Department’s annual assessment of internal
control over financial reporting, the Justice Management Division, Internal Review and
Evaluation Office conducted a review of SCO business processes related to budget, obligations,
human resources, and financial reporting during the assessment period of October 1, 2017
through March 31, 2018. The review identified no material weaknesses or significant
deficiencies in the design or operation of SCO controls.


The Department will continue to dedicate and leverage resources to maintain strong program and
financial management controls. Management takes its program and financial accountability
seriously and is dedicated to ensuring that funds are used in a responsible and transparent
manner.




1
    28 CFR 600.7 - Conduct and Accountability.
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                                  The Special Counsel's Office
                                    Statement of Expenditures
                     For the period October 1, 2017 through March 31, 2018

Direct and Reimbursed Expenditures (note 1)
   Personnel Compensation and Benefits (note 2)     $2,738,131
   Travel and Transportation of Persons (note 3)       532,340
   Transportation of Things                              1,345
   Rent, Communications, and Utilities                 886,403
   Contractual Services (note 4)                       264,114
   Supplies and Materials                               29,694
   Acquisition of Equipment (note 5)                    54,597
Total SCO Expenditures (note 6)                    $ 4,506,624
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                                 The Special Counsel’s Office
                            Notes to the Statement of Expenditures
                    For the Period October 1, 2017 through March 31, 2018

Note 1 – Summary of Significant Accounting Policies

   A. Reporting entity: On May 17, 2017, Robert S. Mueller III was appointed by acting
      Attorney General Rod J. Rosenstein to serve as Special Counsel to conduct the previously
      confirmed FBI investigation of the Russian government's efforts to interfere with the
      2016 presidential election and related matters. The statement presents the expenditures
      of the Special Counsel’s Office (SCO) for the period of October 1, 2017 to March 31,
      2018, including direct-funded, reimbursed, and non-reimbursed expenditures. All
      amounts shown refer to the aforementioned reporting period only.
   B. Funding: SCO expenditures are funded by 1) the permanent, indefinite appropriation for
      independent counsels (IC Appropriation) (28 U.S.C. § 591 note), which the Department
      of Justice (DOJ) has determined is legally available to fund this SCO investigation (see
      also Government Accountability Office opinion agreeing with DOJ that this
      appropriation was legally available to fund special counsels (B-302582, Sept. 30, 2004));
      and 2) the direct appropriations of DOJ components who have incurred non-reimbursed
      expenditures in support of the SCO. Expenditures funded through the IC Appropriation
      are a combination of expenses directly incurred by the SCO and expenses incurred by
      other components of DOJ and reimbursed by the IC Appropriation.
   C. DOJ component expenses: Although neither legally required nor reported in prior Special
      Counsels’ Statements of Expenditures, DOJ components that support the SCO were
      asked to track expenditures attributable to the investigations. The expenditures for this
      period totaled $5,476,000, which approximates expenditures the components would have
      incurred for the investigations irrespective of the existence of the SCO.
   D. Basis of accounting: The statement has been prepared on an accrual basis of accounting,
      in which expenses are recorded when incurred regardless of when cash is exchanged.

Note 2 – Personnel Compensation and Benefits
   • IC Appropriation: $2.7 million was expended for salaries and benefits, including:
           o $874,069 for SCO employees
           o $1.9 million for reimbursable DOJ employees detailed to the SCO

Note 3 – Travel and Transportation of Persons
   • IC Appropriation: $532,340 was expended for travel, including:
           o $14,220 for SCO direct-funded travel
           o $518,120 for temporary duty relocation of DOJ employees detailed to the SCO

Note 4 – Contractual Services
   • IC Appropriation: $264,114 was expended for contractual services, including:
          o IT Services                        $226,730
          o Financial Services                 $ 26,572
          o Other                              $ 10,812
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                                 The Special Counsel’s Office
                            Notes to the Statement of Expenditures
                    For the Period October 1, 2017 through March 31, 2018

Note 5 – Acquisition of Equipment
   • IC Appropriation: Non-capitalized personal property equipment purchased using IC
       appropriation funds will remain the property of the federal government at the conclusion
       of the investigation.

Note 6 – Total SCO Expenditures
   • SCO expenditures represent expenditures incurred during the reporting period and
       standard closing adjustments.
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United States Government Accountability Office
Washington, DC 20548



          B-302582



          September 30, 2004

          The Honorable Ted Stevens
          Chairman
          Committee on Appropriations
          The Honorable Robert C. Byrd
          Ranking Minority Member
          Committee on Appropriations
          United States Senate

          The Honorable C.W. Bill Young
          Chairman
          Committee on Appropriations
          The Honorable David Obey
          Ranking Minority Member
          Committee on Appropriations
          House of Representatives

          Subject: Special Counsel and Permanent Indefinite Appropriation

          The Government Accountability Office (GAO) is required to audit twice a year the
          expenditures by independent counsels and certain special counsels paid from the
          permanent indefinite appropriation.1 In the course of auditing independent counsel
          expenditures for the period ending March 31, 2004, we learned that the Department of
          Justice was using the permanent indefinite appropriation to pay the expenses of the
          investigation by Special Counsel Patrick J. Fitzgerald. Mr. Fitzgerald continued to
          perform his duties as a U.S. Attorney after his appointment as Special Counsel. This
          is the first time that the expenses of an investigation by a United States Attorney

          1
           The independent counsel law expired in July 1999, although it continues in effect
          with respect to matters pending before previously appointed independent counsels.
          28 U.S.C. § 599, as amended by Pub. L. No. 103-270, § 2, 108 Stat. 732 (June 30, 1994).
          Section 596(c) of title 28 of the United States Code requires covered independent
          counsels to report on their expenditures on a semiannual basis and requires GAO to
          audit these statements. In addition, the permanent indefinite appropriation
          established by Pub. L. No. 100-202, § 101(a), title II, 101 Stat. 1329, 1329-9 (1987), 28
          U.S.C. § 591 note (2000), requires us to perform semiannual financial reviews of the
          expenditures from the permanent indefinite appropriation.
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appointed to serve as Special Counsel who continues to serve as a United States
Attorney have been paid from the permanent indefinite appropriation. In addition,
Department of Justice regulations at 28 C.F.R. Part 600 (2003) provide that Special
Counsels shall be selected from outside the government.

Given our responsibility to audit the fund, the use of the account to finance Special
Counsel Fitzgerald’s activities, and the provisions of 28 C.F.R. Part 600 (2003), we
initiated inquiries with the Department of Justice to assure ourselves of the
availability of this account to defray his expenses.2 In considering this matter, we
requested and received the written views of the Department of Justice. We also met
with officials of the Department to discuss their views and obtained additional
comments and information. Finally, we reviewed the laws and their legislative
histories, regulations, court decisions, and past practices of the Department of
Justice, as they relate to this matter.

For the reasons discussed below, we do not object to the use of the permanent
indefinite appropriation to fund Special Counsel Fitzgerald’s expenses. Unlike the
expired independent counsel law, the permanent indefinite appropriation does not
require that a Special Counsel be appointed from outside the government. The
Department, in appointing Special Counsel Fitzgerald under “other law”, has afforded
him independence by delegating all of the Attorney General’s authority with respect
to the investigation and instructing him to exercise that authority independent of the
control of any officer of the Department. Finally, the Part 600 regulations are not
substantive and may be waived by the Department.

Background

On December 30, 2003, Deputy Attorney General James B. Comey, acting in his
capacity as Acting Attorney General, appointed Patrick J. Fitzgerald, United States
Attorney for the Northern District of Illinois, as Special Counsel to investigate the
alleged unauthorized disclosure of a CIA employee’s identity. Special Counsel
Fitzgerald’s delegation reads as follows:

         “By the authority vested in the Attorney General by law, including 28 U.S.C.
         §§ 509, 510, and 515, and in my capacity as Acting Attorney General pursuant
         to 28 U.S.C. § 508, I hereby delegate to you all the authority of the Attorney
         General with respect to the Department’s investigation into the alleged
         unauthorized disclosure of a CIA employee’s identity, and I direct you to
         exercise that authority as Special Counsel independent of the supervision or
         control of any officer of the Department.”3

2
 The Government Accountability Office is authorized by 31 U.S.C. § 3526 (2000) to
settle the accounts of the government and may take exception to illegal, improper, or
unauthorized payments.
3
 Letter from James B. Comey, Acting Attorney General, to Patrick J. Fitzgerald,
United States Attorney, Dec. 30, 2003.

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In February 2004, Acting Attorney General Comey clarified Special Counsel
Fitzgerald’s delegation of authority to state that the authority previously delegated to
him is plenary. It also states, “Further, my conferral on you of the title of ‘Special
Counsel’ in this matter should not be misunderstood to suggest that your position and
authorities are defined and limited by 28 CFR Part 600.”4

Following his appointment as Special Counsel, Mr. Fitzgerald continued to perform
his duties as United States Attorney. As a result of our activities in connection with
the audit of the Independent Counsel expenditures for the six-month period ending
March 31, 2004, we learned that the Department of Justice was charging the expenses
of Special Counsel Fitzgerald to the permanent indefinite appropriation established
 “ . . . to pay all necessary expenses of investigations and prosecutions by
independent counsels appointed pursuant to the provisions of 28 U.S.C. 591 et seq. or
other law . . .”5 In the following section we discuss two issues: whether the
permanent indefinite appropriation is available to fund Special Counsel Fitzgerald’s
expenses and whether the Part 600 regulations, which among other things require the
appointment of Special Counsel from outside the government, can be waived.

Discussion

As you are aware, the authority to appoint independent counsels pursuant to the
provisions of 28 U.S.C. §§ 591 et seq. expired on June 30, 1999. However, the
permanent indefinite appropriation remains available to pay the expenses of an
independent counsel (1) who was appointed by the Special Division of the United
States Court of Appeals for the District of Columbia pursuant to the provisions of
28 U.S.C. §§ 591 et seq. whose investigation was underway when the law expired 6 or




4
 Letter from James B. Comey, Acting Attorney General, to Patrick J. Fitzgerald,
United States Attorney, Feb. 6, 2004. The Department of Justice adopted 28 C.F.R.
Part 600 (64 Fed. Reg. 37038, July 9, 1999), to replace the procedures of the expired
Independent Counsel Reauthorization Act of 1994. While the Part 600 procedures
provide that a Special Counsel appointed by the Attorney General (or in cases when
the Attorney General is recused, by the Acting Attorney General) is to be selected
from outside the government, the delegation clearly states that Special Counsel
Fitzgerald is not a Special Counsel whose appointment is subject to Part 600.
5
    Pub. L. No. 100-202, § 101(a) [title II], 101 Stat. 1329, 1329-9 (1987).
6
 The law continues in effect with respect to matters pending before an independent
counsel until the independent counsel determines that such matters have been
completed. 28 U.S.C. § 599 (2000).



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(2) who was appointed under “other law.”7 Under the expired law, a person
appointed as an independent counsel could not hold “any office of profit or trust
under the United States, 28 U.S.C. § 593(b)(2) (2000).” 8 The purpose of the
qualification was to avoid the public perception of an actual or apparent conflict of
interest existing between the investigator and those being investigated for alleged
violations of law.9

The permanent indefinite appropriation is available to pay all necessary expenses of
investigations of independent counsels appointed under other law. However, the
term “independent counsel” is not defined in the permanent indefinite appropriation.
About the time the independent counsel law was being considered for reauthorization
in 1987, legal challenges were underway regarding the constitutionality of the
procedure followed to appoint independent counsels. Consequently, to avoid
interruption of ongoing investigations should the law be ruled unconstitutional by a
court, the Attorney General appointed the same persons to serve as independent
counsels under the statutory authority that was relied upon to appoint Special

7
  The Department has at different times in various regulations characterized
individuals appointed under other law (to investigate individuals who may have been
proper subjects for investigation under the expired independent counsel law) as
independent counsels or special counsels. Compare Justice’s current regulation at 28
C.F.R. Part 600—General Powers of Special Counsel (July 1, 2003) with the regulation
it replaced at 28 C.F.R. Part 600—General Powers of Independent Counsel (July 1,
1999). See 28 U.S.C. Parts 601 through 603 (July 1, 2003) relating to the Jurisdiction
of the three Independent Counsels appointed under other authority for Iran/Contra,
In re Franklyn Nofziger and In re Madison Guaranty Savings & Loan Association.
Independent and special counsels are sometimes referred to as regulatory
independent counsels
8
 A similar requirement was included in the independent counsel law as first enacted
in 1978 and all subsequent reauthorizations. See 28 U.S.C. § 593(d) (Supp. III 1979) as
enacted by section 601 of the Ethics in Government Act of 1978, Pub. L. No. 95-521, 92
Stat. 1824, 1869 (Oct. 26, 1978); 28 U.S.C. § 593(d) (1982) as amended by section
2(a)(1)(A) of the Ethics in Government Act Amendments of 1982, Pub. L. No. 97-409,
96 Stat. 2039 (Jan. 3, 1983); 28 U.S.C. § 593(b)(2) (1988) as amended by section 2 of
the Independent Counsel Reauthorization Act of 1987, Pub. L. No. 100-191, 101 Stat.
1293, 1298 (Dec. 15, 1987); and 28 U.S.C. § 593(b)(2) (1994) as amended by the
Independent Counsel Reauthorization Act of 1994, Pub. L. No. 103-270, 108 Stat. 732
(June 30, 1994).
9
    See, for example, S. Rep. No. 95-170, accompanying S. 555, at 65-66 (1977) discussing
the proposed language of 28 U.S.C. § 593(d). Upon the enactment of S. 555 into law,
it became known as the Ethics in Government Act of 1978. See also the Conference
Committee Report accompanying S. 555, H.R. Rept. 95-1756, 77 (1978) for discussion
on the origin of title VI to the act enacting the special prosecutor provisions into law.
The act was subsequently amended to change the name special prosecutor to
independent counsel.


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Counsel Fitzgerald.10 Thus, the independent counsels appointed under “other law”
around the time that the Congress was considering the Department of Justice
appropriation act for fiscal year 1988 (which enacted the permanent indefinite
appropriation into law) were the independent counsels that also had been appointed
in conformity with the requirements of the independent counsel law. 11

In a meeting with Department of Justice officials,12 the Department explained its view
that use of the permanent indefinite appropriation to pay expenses of a U.S. Attorney
appointed to serve as Special Counsel who continues to perform his duty as a U.S.
Attorney is appropriate. The alleged violation that Special Counsel Fitzgerald is
investigating involves the rank and level of government official that clearly would
have been within the scope of the expired independent counsel law and the
investigation of which could have been funded by the permanent indefinite
appropriation. Additionally, the Department views the use of the permanent
indefinite appropriation as important to facilitate Special Counsel Fitzgerald’s
investigation by freeing him from possible budget constraints that potentially might
serve to limit his activities.




10
  See Offices of Independent Counsel; General Powers and Establishment of
Independent Counsel—Iran/Contra, 52 Fed. Reg. 7270, Mar. 10, 1987, and Jurisdiction;
Independent Counsel Offices; Regarding Franklyn C. Nofziger, 52 Fed. Reg. 22438,
June 12, 1987, and In re Sealed Case, 829 F.2d 50, 52-53 (D.C. Cir. 1987), discussing
the Attorney General’s appointment of Lawrence Walsh as regulatory independent
counsel under 28 C.F.R. Part 600 (1987) to mirror the appointment of Lawrence
Walsh under the independent counsel law. Unlike the court that considered the
effect of the predecessor Part 600, we have been unable to identify support for the
proposition that 28 C.F.R. Part 600 issued in 1999 was intended to mirror the
requirements of the expired independent counsel law.
11
  Heretofore, persons appointed regulatory independent/special counsels whose
expenses have been paid from the permanent indefinite appropriation were not
officers or employees of the United States government, including the first regulatory
special counsel appointed following the 1999 amendment to 28 C.F.R. Part 600. They
include Robert Fiske, appointed regulatory independent counsel on January 20, 1994,
and John Danforth, appointed regulatory special counsel on September 9, 1999.
12
 Meeting on May 20, 2004, attended by Paul Colborn, Special Counsel, Office of Legal
Counsel, Stuart Frisch, General Counsel, Justice Management Division, and Melinda
Morgan, Acting Director of Finance, Justice Management Division, representing the
Department of Justice, and Susan A. Poling, Associate General Counsel, Richard T.
Cambosos, Senior Attorney, and Hodge Herry, Assistant Director, Financial
Management and Assurance, representing GAO. See also letter from Paul R. Corts,
Assistant Attorney General for Administration, Department of Justice, to Anthony H.
Gamboa, General Counsel, GAO, April 1, 2004, p. 2.


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Since the permanent indefinite appropriation is available for independent counsels,
we looked for indicia of independence of Special Counsel Fitzgerald. The parameters
of his authority and independence are defined in the appointment letters which
delegate to Special Counsel Fitzgerald all (plenary) the authority of the Attorney
General with respect to the Department’s investigation into the alleged unauthorized
disclosure of a CIA employee’s identity with the direction that he exercise such
authority independent of the supervision or control of any officer of the Department.13
In addition, Department officials informed us that the express exclusion of Special
Counsel Fitzgerald from the application of 28 C.F.R. Part 600, which contains
provisions that might conflict with the notion that the Special Counsel in this
investigation possesses all the power of the Attorney General, contributes to the
Special Counsel’s independence.14 Thus, Special Counsel Fitzgerald need not follow
the Department’s practices and procedures if they would subject him to the approval
of an officer or employee of the Department. For example, 28 C.F.R. § 600.7 requires
that a Special Counsel consult with the Attorney General before taking particular
actions. The consulting requirement would seem to be inconsistent with the notion
that Special Counsel Fitzgerald possesses the plenary authority of the Attorney
General. The Department also stated it would continue to provide the financial
information for Special Counsel Fitzgerald as it has done with respect to other
independent counsels appointed under “other law” whose expenses were paid from
the permanent indefinite appropriation.15

Acting Attorney General Comey appointed Special Counsel Fitzgerald under 28 U.S.C.
§§ 509, 510 and 515.16 The Department has relied upon such authority in the past to


13
     See supra notes 3 and 4.
14
     See supra note 12.
15
  The Department has instituted procedures to separately account for costs
associated with Special Counsel Fitzgerald’s investigation of the alleged unauthorized
disclosure of the identity of the CIA operative that are charged to permanent
indefinite appropriation. We audited the statement of expenditures for the Office of
Special Counsel Fitzgerald and found that (1) the statement of expenditures was
presented fairly, in all material respects, in conformity with U.S. generally accepted
accounting principles, (2) the Special Counsel had effective internal control over
financial reporting and compliance with laws and regulations, and (3) there was no
reportable noncompliance with laws and regulations we tested. Additional
information on our audit of the Office of Special Counsel Fitzgerald can be obtained
from our report, Financial Audit: Independent and Special Counsel Expenditures for
the Six Months Ended March 31, 2004 (GAO-04-1014, Sept. 30, 2004).
16
 These statutes establish the Attorney General’s overall responsibility for
Department functions, his authority to delegate Department functions to other
Department officers, and authority to direct an individual Department officer or any
attorney specially appointed under law to conduct any kind of legal proceeding, civil


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appoint regulatory independent counsel from outside the government.. In 1994, the
Department first determined that it was authorized to finance the activity of a
regulatory independent counsel who was appointed from outside the government
pursuant to such authority from the permanent indefinite appropriation. We agree
with the Department that the same statutory authorities that authorize the Attorney
General (or Acting Attorney General) to delegate authority to a U.S. Attorney to
investigate and prosecute high ranking government officials are “other law” for the
purposes of authorizing the Department to finance the investigation and prosecution
from the permanent indefinite appropriation. It should be noted that we have not
objected to the use of the permanent indefinite appropriation to fund the expenses of
regulatory independent counsels appointed from outside the government pursuant to
such authority. 17

The remaining issue is whether Part 600 can be waived by the Attorney General or
acting Attorney General. We examined Part 600 and found it was issued in 1999 to
replace the procedures of the expired Independent Counsel Reauthorization Act of
1994. In our view, Part 600 is not a substantive (legal) limitation on the authority of
the Acting Attorney General to delegate departmental functions to Special Counsel
Fitzgerald. First, 28 C.F.R. § 600.10 states that the regulations are “not intended to,
do not, and may not be relied upon to create any rights, substantive or procedural,
enforceable at law or equity, by any person or entity, in any matter, civil, criminal, or
administrative.” Further, in the supplemental information accompanying the
issuance of Part 600, the Department explained that the effective date of the rule did
not have to be delayed 30 days after publication because it was not a substantive rule,
citing 5 U.S.C. §§ 553(d), 552(a)(1)(D). 64 Fed. Reg. 37038, at 37041 (July 9, 1999).

Finally, the only statute cited as authority for 28 C.F.R. Part 600 that expressly
authorizes the Department to issue regulations is 5 U.S.C. § 301 (2000). It provides
that the head of executive agencies may “prescribe regulations for the government of
his department, the conduct of its employees, the distribution and performance of its
business, and the custody, use and preservation of its records, papers and
property…” The power conferred by 5 U.S.C. § 301 is administrative and not



or criminal, including grand jury proceedings whether or not he is a resident of the
District in which the proceeding is brought.
17
 Department of Justice, Memorandum to Stephen R. Colgate, Assistant Attorney
General for Administration, from Stuart Frisch, Acting General Counsel, Availability
of the Independent Counsel Appropriation to Pay Expenses of an Independent
Counsel Appointed by the Attorney General, Jan. 24, 1994. The determination related
to the investigation by Robert B. Fiske, Jr., who was appointed by Attorney General
Janet Reno on January 24, 1994, during a period between the expiration on December
15, 1992 and reauthorization on June 30, 1994, of the independent counsel law. See,
GAO, Financial Audit, Expenditures by Four Independent Counsels for the Six
Months Ended March 31, 1994, GAO/AIMD-95-112 (Washington, D.C.: March 31,
1995).

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legislative. Chrysler Corp. v. Brown, 441 U.S. 281, 309 (1979); United States v.
George, 228 U.S. 14, 21-22 (1914). It follows that such regulations governing internal
procedures issued under this statute do not have the force and effect of law. See
Einhorn v. DeWitt, 618 F. 2d 347 (5th Cir. 1980) (IRS procedural rules issued under 5
U.S.C. § 301 governing the internal affairs of the IRS do not have force and effect of
law). Thus, 28 C.F.R Part 600 does not act as a substantive limitation on the Attorney
General’s (or Acting Attorney General’s) authority to delegate authority to a U.S.
Attorney to serve as a Special Counsel to investigate high ranking government
officials and it may be waived. See 60 Comp. Gen. 208, 210 (1981) (an agency could
waive its internal guidelines prescribing the specific evidence required to
demonstrate a grantee’s financial responsibility when the agency was otherwise
satisfied that the government’s interests were adequately protected). The
Department was not limited by 28 C.F.R. Part 600 when it exercised its authority
under 28 U.S.C. §§ 508, 509, 510 and 515 and appointed Special Counsel Fitzgerald
from within the Department to investigate the alleged unauthorized leak of a CIA
employee’ identity.

We also note that the Part 600 regulations contemplate an outside Special Counsel
when “it would be in the public interest to appoint an outside Special Counsel to
assume responsibility” for an investigation and that an investigation by the
Department would present a conflict of interest or other extraordinary circumstance.
28 C.F.R. §600.1(b). We defer to the Department’s judgment in this regard.

Conclusion

Upon review and consideration, we do not object to the Department’s determination
that the permanent indefinite appropriation is available to pay the expenses of
Special Counsel Fitzgerald’s investigation. Admittedly one might infer from events
occurring around the time that the Congress was considering establishing the
permanent indefinite appropriation that it was within the Congress’ contemplation
that the appropriation would be used to pay the expenses of an independent counsel
possessing the degree of independence similar to that possessed by an independent
counsel appointed under 28 U.S.C. §§ 591 et seq. However, such an inference is
insufficient to support our reading into the law a limitation on the use of the
permanent indefinite appropriation to pay for investigations solely by Special
Counsels appointed from outside the government. The independence conferred by
the delegation of authority to Special Counsel Fitzgerald from the Department of
Justice is consistent with a fair reading of the independence required of an
“independent counsel” appointed under “other law.” Finally, Part 600 regulations do
not have the force and effect of law and may be waived by the Department. Thus we
do not view the payment of the expenses associated with Special Counsel Fitzgerald’s
investigation from the permanent indefinite appropriation to be improper or
unauthorized simply because he was not appointed from outside the government and
continues to serve as a United States Attorney.




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Should you have any questions regarding this matter, you may contact Susan A.
Poling, Associate General Counsel, on 202-512-2667 or Richard T. Cambosos, Senior
Attorney, on 202-512-8263.


/SIGNED/

Anthony H. Gamboa
General Counsel

cc: Chairman and Ranking Minority Member
    Committee on Governmental Affairs
    United States Senate

    Chairman and Ranking Minority Member
    Committee on the Judiciary
    United States Senate

    Chairman and Ranking Minority Member
    Subcommittee on Commerce, Justice, State and the Judiciary
    Committee on Appropriations
    United States Senate

    Chairman and Ranking Minority Member
    Committee on Government Reform
    House of Representatives

   Chairman and Ranking Minority Member
   Committee on the Judiciary
   House of Representatives

    Chairman and Ranking Minority Member
    Subcommittee on Commerce, Justice, State,
      The Judiciary and Related Agencies
    Committee on Appropriations
    House of Representatives




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